     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1762 Page 1 of 83




 1
     Julie B. Axelrod
     California Bar No. 250165
 2   Immigration Reform Law Institute
 3   25 Massachusetts Ave., NW, Suite 335
     Washington, D.C. 20001
 4
     Telephone: (202) 232-5590
 5

 6
     Lesley Blackner
     Admitted Pro Hac Vice
 7   Florida Bar No. 654043
 8   340 Royal Poinciana Way, Suite 317-377
     Palm Beach, Florida 33480
 9
     Telephone: (561) 659-5754
10

11
     James P. Miller
     California Bar. No. 188266
12   Law Office of JP Miller Jr.
13   181 Rea Ave., Suite 101
     El Cajon, CA 92020
14
     Telephone: (619) 590-0383
15

16                      THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
17

18   WHITEWATER DRAW NATURAL,      Case No. 3:16-cv-2583
19   RESOURCE CONSERVATION
     DISTRICT, HEREFORD NATURAL
20
     RESOURCE CONSERVATION
21   DISTRICT, ARIZONA ASSOCIATION AMENDED COMPLAINT FOR
     OF CONSERVATION DISTRICTS,    DECLATORY AND INJUNCTIVE
22
     CALIFORNIANS FOR POPULATION RELIEF
23   STABILIZATION, SCIENTISTS AND
24
     ENVIRONMENTALISTS FOR
     POPULATION STABILIZATION, NEW
25   MEXICO CATTLEGROWERS’
26   ASSOCIATION, GLEN COLTON,
     FLORIDIANS FOR A SUSTAINABLE
27
     POPULATION, RALPH POPE
28

                                            1
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1763 Page 2 of 83




 1

 2
           Plaintiffs,

 3
                v.

 4
     KIRSTJEN NIELSEN, IN HER
 5
     OFFICIAL CAPACITY AS
 6   SECRETARY OF HOMELAND
 7   SECURITY, and THE DEPARTMENT
     OF HOMELAND SECURITY
 8

 9

10    Defendants.
11

12

13
                              PRELIMINARY STATEMENT

14
     1.    This case addresses a set of eight related programs and actions administered
15

16   by the Department of Homeland Security (“DHS”) and DHS Secretary Elaine
17
     Duke (together, DHS and the DHS Secretary are referred to as “DHS”). The eight
18

19
     programs, which are authorized by statute or executive directive, include: 1)

20   employment based immigration; 2) family based immigration; 3) long term
21
     nonimmigrant visas; 4) parole; 5) Temporary Protective Status (“TPS”); 6)
22

23   refugees; 7) asylum; and 8) Deferred Action for Childhood Arrivals (“DACA”).
24
     These programs, which result in similar environmental impacts, regulate the entry
25

26   into and settlement of millions of foreign nationals in the United States. To a
27
     substantial degree, most of the population growth in the United States in recent
28

                                               2
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1764 Page 3 of 83




 1
     decades has been caused and continues to be caused by these federal programs.
 2   Human population growth causes impacts to the environment. Like its predecessor
 3
     agency, the Immigration and Naturalization Service (“INS”), DHS has turned a
 4

 5   blind eye to the environmental impacts, including cumulative impacts, resulting
 6
     from its programs that regulate foreign nationals who enter into and settle in the
 7

 8   United States.
 9
     2.    DHS’s blind spot regarding the environmental impacts resulting from its
10
     programs that regulate the entry into and settlement of foreign nationals in the
11

12   United States is epitomized by its failure to comply with the National
13
     Environmental Policy Act, 42 U.S.C. § 4331 et seq. (2012) (“NEPA”) in the course
14

15   of its administration of these programs.
16
     3.    The core purpose of NEPA is to ensure that, before a federal agency
17

18
     undertakes a federal action, its decision-makers consider the range of potential

19   environmental impacts the action may have on the “human environment.” See 42
20
     U.S.C. § 4332(2)(C) (2012). NEPA embodies a national policy that aims to ensure
21

22   that decisions affecting the human environment are made with eyes wide open and
23
     in full view of the public, so that all stakeholders may understand the implications
24

25   of federal actions on the natural resources that we all depend on. NEPA “help[s]
26
     public officials make decisions that are based on understanding of environmental
27
     consequences, and take actions that protect, restore, and enhance the environment.”
28

                                                3
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1765 Page 4 of 83




 1
     40 C.F.R. § 1500.1 (2017) (Council on Environmental Quality (“CEQ”)
 2   regulations). With respect to its programs that regulate the entry into and
 3
     settlement of foreign nationals in the United States, DHS is woefully deficient in
 4

 5   carrying forth this Congressional obligation.
 6
     4.       NEPA was enacted in 1970. At that time, INS administered the federal
 7

 8   programs authorized by statute regulating the entry into and settlement of foreign
 9
     nationals in the United States. Despite the adoption of NEPA, INS never undertook
10
     any NEPA compliance with respect to these programs. Thirty-three years later,
11

12   DHS was established. The primary authority to implement and administer the
13
     programs regulating the entry into and settlement of foreign nationals in the United
14

15   States was transferred to DHS. As a new federal agency, DHS adopted its own
16
     NEPA procedures, which were finalized in 2014 as DHS Directive 02301,
17

18
     Implementation of the National Environmental Policy Act, attached hereto as Ex. 1

19   and Instruction Manual 023-01-001-01 (“Instruction Manual”), attached hereto as
20
     Ex. 2.
21

22   5.       DHS’s adoption of new NEPA procedures presented an opportunity to
23
     correct INS’s decades-long failure to recognize environmental impacts resulting
24

25   from its population-growth inducing programs, a particularly important task in
26
     light of the ever-increasing numbers of foreigners settling in the United States and
27
     their obvious environmental impacts. However, the Instruction Manual continued
28

                                               4
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1766 Page 5 of 83




 1
     to perpetuate the INS blind spot regarding the myriad environmental consequences
 2   of its actions concerning the entry into and settlement of mass numbers of people
 3
     in the United States. In the Instruction Manual, DHS arbitrarily and capriciously
 4

 5   fails even to recognize that one of its core missions is the regulation of the entry
 6
     into and settlement of foreign nationals in the United States. The Instruction
 7

 8   Manual accordingly fails to provide any analysis as to whether the programs that
 9
     implement that mission might therefore have an effect on the environment. DHS
10
     continues to fail to undertake any NEPA review, in direct contravention of its
11

12   statutory obligation, regarding these ongoing programs.
13
     6.       In order to establish the scope and magnitude of the environmental impacts
14

15   at issue, Plaintiffs have undertaken extensive research and retained experts to:
16
     a) identify and delineate those specific, ongoing DHS programs regulating the
17

18
     entry into and settlement in the United States of multitudinous foreign nationals;

19   and b) identify and delineate environmental impacts to Plaintiffs resulting from
20
     these programs, including, but not limited to, the impacts from massive population
21

22   growth and environmental damage along the Southwest border of the United
23
     States.1
24

25

26   1
          Plaintiffs retained three experts for this action. Jessica Vaughan, an expert on
27
     United States immigration law, policy and practice, has analyzed DHS’ programs
28
     and their impacts on the United States population as a whole, on the populations of
                                              5
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1767 Page 6 of 83




 1
     7.    Plaintiffs seek to compel DHS to properly comply with NEPA in connection
 2   with its programs that regulate the entry into and settlement of myriad foreign
 3
     nationals in the United States. Plaintiffs seek both a declaration from this Court
 4

 5   that DHS is violating NEPA and an injunction to require DHS to comply with the
 6
     law. Further, Plaintiffs assert that, in the course of approving its agency actions
 7

 8   implementing its programs regulating the entry into and settlement of foreign
 9
     nationals in the United States, DHS violated its fundamental obligation to engage
10
     in well-reasoned, non-arbitrary decision making under the Administrative
11

12   Procedure Act, (“APA”). See 5 U.S.C. § 701 et seq. (2012). In Count I, Plaintiffs
13
     assert that the NEPA procedures DHS adopted in 2014 are arbitrary and capricious,
14

15   in violation of the APA and NEPA. In Count II, Plaintiffs assert that DHS’s failure
16
     to initiate NEPA compliance for eight programs specified in ¶ 55 regulating the
17

18
     entry into and settlement of foreign nationals in the United States violates the APA

19   and NEPA. In Count III, Plaintiffs assert the Categorical Exclusion A3 adopted by
20

21

22
     the areas in which Plaintiffs reside, and the impacts of some of the programs on the
23
     land near the Southwest border. Her affidavit regarding these programs is attached
24
     hereto in Ex. 3. Steven Camarota, Ph.D., an expert on the demographic impacts of
25
     immigration, produced an expert report addressing the impact of immigration upon
26
     population growth. His report is attached hereto as Ex. 4. Phil Cafaro, Ph.D., a
27
     sustainability expert, produced a report on the environmental impacts of population
28
     growth. His report is attached hereto as Ex. 5.
                                               6
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1768 Page 7 of 83




 1
     DHS on November 6, 2014, is arbitrary and capricious on its face. Count IV
 2   addresses the four times that DHS promulgated rules that DHS deemed
 3
     categorically excluded from NEPA review. Plaintiffs assert the application of the
 4

 5   Categorical Exclusion A3 on these four separate occasions was arbitrary and
 6
     capricious as applied, in violation of the APA and NEPA. Finally, in Count V,
 7

 8   Plaintiffs challenge the NEPA review DHS completed for its June 2, 2014, Action
 9
     “Response to the Influx of Unaccompanied Alien Children” as violating NEPA and
10
     the APA.
11

12                               JURISDICTION AND VENUE
13

14
     8.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

15   (2012) (federal question jurisdiction), 5 U.S.C. § 701 et seq. (2012) (APA), 28
16
     U.S.C. § 1361 (2012) (mandamus) and may issue a declaratory judgment and
17

18   further relief pursuant to 28 U.S.C. § 2202 (2012) (declaratory and injunctive
19
     relief). Plaintiffs claim that DHS has not and is not acting in accordance with
20

21   federal law. See 5 U.S.C. § 706 (2012).
22
     9.     Venue in this judicial district is proper under 28 U.S.C. § 1391(e) (2012)
23

24
     because this is an action against an agency of the United States and at least one

25   plaintiff resides in this district.
26

27

28

                                               7
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1769 Page 8 of 83




 1                               RELEVANT STATUTES
 2

 3   A.       THE NATIONAL ENVIRONMENTAL POLICY ACT
 4

 5
     10.   NEPA is the “basic national charter for protection of the environment.” 40
 6

 7
     C.F.R. § 1500.1(a) (2017). NEPA’s essential purpose is “to help public officials

 8   make decisions that are based on understanding of environmental consequences,
 9
     and take actions that protect, restore, and enhance the environment.” 40 C.F.R. §
10

11   1500.1(c).
12
     11.   NEPA expressly recognizes Congressional concern for “the profound
13

14   influences of population growth” on “the natural environment[.]” 42 U.S.C. §
15
     4331(a). Through NEPA, Congress directs, in relevant part, that the Federal
16
     Government shall:
17

18         use all practicable means, consistent with other essential
19         considerations of national policy, to improve and coordinate Federal
           plans, functions, programs, and resources to the end that the Nation
20
           may
21

22
           (1) fulfill the responsibilities of each generation as trustee of the
           environment for succeeding generations;
23
           (2) assure for all Americans safe, healthful, productive, and
24         esthetically and culturally pleasing surroundings;
           (3) attain the widest range of beneficial uses of the environment
25
           without degradation, risk to health or safety, or other undesirable and
26         unintended consequences;
27         (4) preserve important historic, cultural, and natural aspects of
           our national heritage, and maintain, wherever possible an
28

                                              8
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1770 Page 9 of 83




 1
           environment which supports diversity and variety of individual
           choice;
 2
           (5) achieve a balance between population and resource use
 3         which will permit high standards of living and a wide sharing
           of life’s amenities . . . .
 4

 5   42 U.S.C. § 4331(b) (emphasis added).
 6
     12.   To accomplish its goals, NEPA requires each federal agency to identify and
 7

 8   consider the environmental impacts of its proposed federal actions. See generally 42
 9
     U.S.C. § 4331. Each agency must also consider alternatives and mitigating
10

11   measures which could avoid or reduce such impacts before implementing federal
12
     agency actions that may significantly affect the environment. To these ends, NEPA
13

14
     establishes, in relevant part:

15         The Congress authorizes and directs that, to the fullest extent possible:
16         (1) the policies, regulations, and public laws shall be interpreted and
           administered in accordance with the policies set forth in this Act, and
17
           (2) all agencies of the Federal Government shall
18         ...
19
           (C) include in every recommendation or report on proposals for
           legislation and other major Federal actions significantly affecting the
20         quality of the human environment, a detailed statement by the
21         responsible official on
           (i) the environmental impacts of the proposed action,
22
           (ii) any adverse environmental effects which cannot be avoided
23         should the proposal be implemented,
24         (iii) alternatives to the proposed action, . . .
           (v) any irreversible or irretrievable commitment of resources which
25
           would be involved in the proposed action should it be implemented.
26

27   42 U.S.C. § 4332.
28

                                              9
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1771 Page 10 of 83




 1
     13.   “The phrase ‘to the fullest extent possible’ in section 102 means that each
 2   agency of the Federal Government shall comply with that section unless existing
 3
     law applicable to the agency’s operation expressly prohibits or makes compliance
 4

 5   impossible.” 40 C.F.R. § 1500.6 (2017). See also 40 C.F.R. § 1507.2 (2017)
 6
     (Agency capability to comply).
 7

 8   14.   NEPA is designed to inject environmental considerations early into a federal
 9
     agency’s decision making process in order that the agency can “take actions that
10
     protect, restore, and enhance the environment.” 40 C.F.R. § 1500.1(c). NEPA is
11

12   also intended to engage the public and stakeholders while the agency gathers and
13
     solicits relevant, “high quality” information, as well as inform and engage the
14

15   public in the agency decision making process. See 40 C.F.R. § 1500.1(b). See also
16
     §§ 1503.1(a)(4) (Inviting comments), 1506.6 (Public involvement) (2017).
17

18
     Because “public involvement” is paramount in the NEPA process, each agency

19   shall “[p]rovide public notice of NEPA-related hearings, public meetings, and the
20
     availability of environmental documents so as to inform those persons and
21

22   agencies who may be interested or affected.” 40 C.F.R. § 1506.6(b). NEPA thus is,
23
     at the very least, an environmental disclosure and public participation tool.
24

25   15.    NEPA established the White House Council on Environmental Quality
26
     (“CEQ”), which issues regulations guiding agencies’ compliance with NEPA. See
27
     42 U.S.C. § 4341 et seq. (2012); 40 C.F.R. § 1500 (2017). CEQ regulations clearly
28

                                              10
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1772 Page 11 of 83




 1
     define what constitutes agency action and set forth the process for determining
 2   whether an action or program significantly affects the quality of the human
 3
     environment. “Major federal actions” are defined to “include new and continuing
 4

 5   activities including projects and programs entirely or partly financed, assisted,
 6
     conducted, regulated, or approved by federal agencies; [and] new or revised
 7

 8   agency rules, regulations, plans, policies, or procedures . . . .” 40 C.F.R. §
 9
     1508.18(a) (2017).
10
     16. CEQ regulations provide that each federal agency shall adopt procedures to
11

12   ensure that its “decisions are made in accordance with [NEPA’s] policies and
13
     procedures . . . .” 40 C.F.R. § 1505.1. Further, agency procedures shall comply
14

15   with CEQ regulations. See 40 C.F.R. § 1507.3(b)(1) (2017). An agency must
16
     specifically ensure that its NEPA procedures provide for designating the major
17

18
     decision points for the agency’s principal programs likely to have a significant

19   effect on the human environment and assuring that the NEPA process corresponds
20
     with them. 40 C.F.R. § 1505.1(b) (2017).
21

22   17.   CEQ regulations recognize that human population growth is an effect
23
     subject to NEPA analysis. 40 C.F.R. § 1508.8(b) (2017) provides, in relevant part:
24

25   “Indirect effect may include growth inducing effects and other effects related to
26
     induced changes in the pattern of land use, population density or growth rate, and
27
     related effects on air and water and other natural systems, including ecosystems.”
28

                                               11
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1773 Page 12 of 83




 1
     18.   Pursuant to NEPA, DHS adopted its Instruction Manual on November 6,
 2   2014. See Ex. 2. The Instruction Manual “serves as the DHS implementing
 3
     procedures for NEPA (as required by 40 C.F.R. §§ 1505.1 and 1507.3) which
 4

 5   supplement the CEQ regulations and therefore must be read in conjunction with
 6
     them.” Id. at III-1. The Instruction Manual states that NEPA applies to a wide
 7

 8   range of DHS activities:
 9
           Generally, NEPA applies to Federal actions that affect the human
10         environment. Within DHS, NEPA generally applies to actions to be
           undertaken, funded, permitted or otherwise approved by DHS[,]
11
           including activities that may be wholly initiated within DHS, executed
12         by DHS under the direction of Congress, or proposed by persons or
13         organizations outside of DHS that require approval funding, a license,
           or a permit from DHS.
14
     Id.
15

16
     19.   Pursuant to 42 U.S.C. § 4332(C), each agency is required to prepare an
17
     “Environmental Impact Statement” (“EIS”) for each “major federal action[]
18

19   significantly affecting the quality of the human environment . . . .”
20
     20.   CEQ regulations provide for the preparation of a document known as an
21

22   Environmental Assessment (“EA”) to enable an agency to determine whether a
23
     particular action may have a significant impact on the quality of the human
24

25
     environment and thus require preparation of an EIS. 40 C.F.R. § 1501.4 (2017).

26   21.   An EA or EIS must also discuss and analyze alternatives to a proposed
27
     program or project—including a “no-action” alternative, which may have less
28

                                               12
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1774 Page 13 of 83




 1
     environmental impact than the proposed action, as well as mitigation measures in
 2   relation to potential environmental impacts. See 40 C.F.R. §§ 1502.14, 1502.16,
 3
     1508.9 (2017).
 4

 5   22.   CEQ regulations provide that agency actions that are “related to each other
 6
     closely enough to be, in effect, a single course of action shall be evaluated in a
 7

 8   single impact statement.” 40 C.F.R. § 1502.4(a) (2017). An EIS may be, and
 9
     sometimes must be, prepared for broad federal actions such as the adoption of new
10
     agency programs or regulations. 40 C.F.R § 1508.18. Agencies shall prepare
11

12   statements on broad actions, including related actions, in order to include
13
     environmental considerations in policy, and shall time such statements to coincide
14

15   with meaningful points in agency planning and decision making. 40 C.F.R. §
16
     1502.4(b). Related actions “have relevant similarities, such as common timing,
17

18
     impacts, alternatives, methods of implementation, media, or subject matter.” 40

19   C.F.R. § 1502.4(c)(2).
20
     23.   In preparing an EA or EIS, an agency must consider direct, indirect, and
21

22   cumulative effects. See 40 C.F.R. §§ 1502.16, 1508.8, 1508.9, 1508.27 (2017).
23
     Under NEPA, “effects” and “impacts” are synonymous and include:
24

25         ecological (such as the effects on natural resources and on the
           components, structures, and functioning of affected ecosystems),
26
           aesthetic, historic, cultural, economic, social, or health, whether
27         direct, indirect or cumulative. Effects may also include those resulting
           from actions which may have both beneficial and detrimental effects .
28
           ...
                                               13
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1775 Page 14 of 83




 1

 2
     40 C.F.R. § 1508.8(b).

 3
     24.   CEQ regulations authorize agencies to exempt certain agency actions from
 4

 5   environmental review through the use of “categorical exclusions.” 40 C.F.R. §
 6
     1508.4 (2017) provides:
 7

 8
           “Categorical Exclusion” means a category of actions which do not
           individually or cumulatively have a significant effect on the human
 9         environment and which have been found to have no such effect in
10         procedures adopted by a Federal agency in implementation of these
           regulations. ([40 C.F.R.] § 1507.3) and for which therefore, neither
11
           an environmental assessment nor an environmental impact statement
12         is required . . . . Any procedures under this section shall provide for
           extraordinary circumstances in which a normally excluded action
13
           may have a significant effect.
14

15   25.   For those federal actions that are not categorically excluded and are,
16
     following completion of an EA, determined not to have “a significant impact on
17

18   the human environment” and thus do not require preparation of an EIS, the agency
19
     issues a “finding of no significant impact” (“FONSI”). 40 C.F.R. § 1508.13
20

21
     (2017).

22
     B.    THE ADMINISTRATIVE PROCEDURE ACT
23

24
     26.   The APA provides for judicial review of federal agency actions. See 5
25

26
     U.S.C. § 701 et seq. Under the APA, a reviewing court must “hold unlawful and

27   set aside agency action, findings, and conclusions” found to be “arbitrary,
28

                                              14
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1776 Page 15 of 83




 1
     capricious, an abuse of discretion, or otherwise not in accordance with law[.]” 5
 2   U.S.C. § 706(2)(A) (2012). Accordingly, a federal agency must take a hard look at
 3
     the consequences of its actions. It must examine the relevant data and articulate a
 4

 5   satisfactory explanation for its action, including “a rational connection between the
 6
     facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S. Inc. v.
 7

 8   State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). An agency must explain in
 9
     an explicit and rational manner how its decision is based upon and complies with
10
     the relevant factors specified in the controlling statutory provision(s), together with
11

12   applicable agency regulations. See id. at 42-43. A reviewing court may set aside, as
13
     arbitrary and capricious, agency factual findings and conclusions found to be
14

15   unsupported by substantial record evidence. 5 U.S.C. § 706(2).
16

17
                                          PARTIES

18         A.   PLAINTIFFS
19

20
     27.   The Whitewater Draw Natural Resource Conservation District

21   (“WWDNRCD”) and the Hereford Natural Resource Conservation District
22
     (“HNRCD”) are a part of the state of Arizona’s Natural Resource Conservation
23

24   District program that was established in response to the dust bowl of the 1930s.
25
     Natural Resources Conservation Districts, Ariz. State Land Dep’t.,
26

27   https://land.az.gov/natural-resources/natural-resource-conservation-districts (last
28
     visited Dec. 8, 2017). The conservation district program promotes the restoration
                                             15
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1777 Page 16 of 83




 1
     and conservation of the state’s natural resources. Id. As part of the conservation
 2   district program, WWDNRCD and HRNCD operate pursuant to Arizona Revised
 3
     Statutes (“A.R.S.”) Title 37, Chapter 6, and are governed by locally elected and
 4

 5   appointed officials. Id. The districts are charged with evaluating the conservation
 6
     needs of their respective areas and partnering with local, state, and federal agencies
 7

 8   to restore and conserve the landscapes and waters of their respective regions. Id.
 9
     The statutory purpose of the WWDNRCD and HNRCD is defined as follows:
10
           to provide for the restoration and conservation of lands and soil
11
           resources of the state, the preservation of water rights and the control
12         and prevention of soil erosion, and thereby to conserve natural
13         resources, conserve wildlife, protect the tax base, protect public lands
           and protect and restore this state’s rivers and streams and associated
14
           riparian habitats, including fish and wildlife resources that are
15         dependent on those habitats, and in such manner to protect and
           promote the public health, safety and general welfare of the people.
16

17   Ariz. Rev. Stat. Ann. § 37-1001 (2017); see also Natural Resources Conservation
18
     Districts, Ariz. State Land Dep’t, https://land.az.gov/natural-resources/natural-
19

20   resource-conservation-districts (last visited Dec. 8, 2017).
21
     28.   The Arizona Association of Conservation Districts (“AACD”) is a 501(c)(3)
22
     nonprofit organization established in 1944 by Arizona’s conservation districts. See
23

24   Ariz. Ass’n of Conservation Dists., http://www.aacd1944.com/ (last visited Dec. 8,
25
     2017). The mission of the AACD is to support the Conservation Districts in
26

27   providing conservation leadership and education, and in addressing local
28

                                               16
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1778 Page 17 of 83




 1
     conservation priorities in partnership with landowners, federal and state agencies,
 2   tribal & local governments and other partners. See id.
 3
     29.   The members of the WWDNRCD, HNRCD, and AACD have been
 4

 5   victimized and damaged by DHS’s failure to comply with NEPA because their
 6
     members live along the Southwest border, which has been environmentally
 7

 8   degraded as a result of DHS’s discretionary actions relating to border enforcement
 9
     and immigration law. The policies of DHS have resulted in an increase in the
10
     numbers of individuals illegally crossing their members’ properties. See Ex. 3 at
11

12   Ex. D: How Certain DHS Programs Affect Land on the Southwest Border.
13
     30.   Fred Davis is the Chairman of WWDNRCD, located in Southeastern
14

15   Arizona. F. Davis Aff., attached hereto as Ex. 6 at ¶ 1. He is also a member of
16
     AACD. Id. He notes that “[t]he WWDNRCD seeks to protect, conserve and sustain
17

18   natural resources in th[e] region, particularly soil and water.” Id. at ¶ 2. Most of
19
     WWDNRCD’s members are, like Mr. Davis, “multi-generation ranchers and
20

21
     farmers who are stewards of their land that plan to pass their traditional way of life

22   on to future generations.” Id. Mr. Davis lives on a 10,000-acre ranch 25 miles from
23
     the US/Mexico border that has been in his family for generations. Id. at ¶ 1. For
24

25   Mr. Davis, “the ranch was a quiet and peaceful place to live and raise a family”
26
     before illegal border-crossings by illegal aliens and smugglers started becoming
27

28

                                               17
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1779 Page 18 of 83




 1
     rampant across his property. Id. at ¶ 5. The unending parade of illegal aliens has
 2   “physically degraded” his land. Id. at ¶ 11.
 3

 4
            The constant trampling of the land by illegal border crossers has left
            permanent damage as well. Many illegal aliens crossing over our
 5          native grasslands will follow the paths beaten over time by previous
 6          crossers, and in those places, the grass will no longer grow. There are
            now eleven paths near our house where sixty percent of the grass is
 7
            gone. These grasses are native to the area, and illegal border crossers
 8          also have an adverse impact on protected plant life. Native plants that
 9
            grow on our property, such as the Soaptree Yucca cactus, which can
            grow to be 12 feet high, Century Plant, barrel cactus, and the
10          Mesquite tree that have been trampled by drug cartels crossing in
11          vehicles. What makes me even angrier is that many of these plants are
            protected by the state of Arizona—we ourselves would be violating
12
            the law if we removed these native plants from our property. Yet these
13          plants that take 6 to 8 years to grow are destroyed without
            consequence by illegal aliens.
14

15
     Id. at ¶ 13.
16

17   Mr. Davis and his family have “picked up literally tons of trash” that illegal
18
     border-crossers have dumped on their land. Id. at ¶ 11. They have found human
19

20   feces on their property “in abundance.” Id. The garbage is a dangerous health
21
     hazard. Id. It has killed some of their cattle, and it has made ranching “far more
22

23
     difficult, dangerous and expensive.” Id. at ¶¶ 11, 12. The years of illegal border-

24   crossings have shattered Mr. Davis’s peace and tranquility. Id. at ¶ 14. Life on the
25
     ranch has become much more stressful; Mr. Davis feels like he is living in a “war
26

27   zone.” Id. at ¶ 15.
28

                                              18
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1780 Page 19 of 83




 1
            We feel that we are in constant reactionary mode, as people keep
 2          unlawfully crossing, and we know some of them may be a threat to
 3          our personal safety, giving us great anxiety for our children. The
            dogs bark in the night at the border crossers, making it difficult for
 4
            us to sleep.
 5

 6   Id. at ¶ 14.
 7
     31.    The constant stress means that Mr. Davis has had “headaches and health
 8

 9   problems [] at home, that go away when I travel.” Id. at ¶ 15. The DHS actions at
10
     issue in this case “have real, concrete, harmful ongoing impacts on me, my family,
11
     our land, and the general border environment.” Id. at ¶ 20. Like so many others,
12

13   Mr. Davis is “angry contemplating all of the damage done to our environment that
14
     might never have occurred if DHS had followed its obligations under NEPA.” Id.
15

16   at ¶ 20.
17
     32.    Peggy Davis has served as a clerk and as the Education Center Director of
18

19   the WWDNRCD. P. Davis Aff., attached hereto as Ex. 7 at ¶ 2. She is also a
20
     member of the AACD. Id. Mrs. Davis lives with her husband Fred Davis, together
21
     with her children and grandchildren, on a 10,000-acre ranch 25 miles from the
22

23   Arizona/Mexico border. Id. at ¶ 1. In her role as clerk and Education Director, Mrs.
24
     Davis has planned workshops on such topics as water and soil, solar energy, estate
25

26   planning, and ranch tours. Id. at ¶ 2. Because of the unending flow of illegal
27
     border-crossers over her land, she can no longer take walks or bike rides alone. Id.
28

                                               19
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1781 Page 20 of 83




 1
     at ¶ 4. She is “afraid to go alone without a firearm.” Id. Mrs. Davis’s enjoyment of
 2   her ranch has diminished significantly over the years because DHS, and INS before
 3
     it, adopted policies that have failed to secure the border. Id. Accordingly, “it feels
 4

 5   like our land has been under siege.” Id. at ¶ 1. She and her family are constantly
 6
     picking up trash of all sorts, as well as continuously repairing fences, as
 7

 8   documented in the photographs that are included in her affidavit. Id. She too has
 9
     suffered injuries because DHS has failed to conduct any NEPA analysis regarding
10
     its myriad immigration-related actions, stating:
11

12
            Perhaps, if DHS had done the proper analysis and informed the public
13          when it made discretionary decisions that encouraged illegal aliens to
            continue crossing the border, as the law requires, it would have
14
            decided that it was important to ramp up enforcement instead. Perhaps
15          the public, if it had understood the environmental costs of DHS’s
16
            actions, would have demanded more effective enforcement. My land
            and the whole border region in the Southwest might look different
17          today—unspoiled, serene, and undamaged environmentally. Instead,
18          ceaseless flows of people have crossed the border, with no end in
            sight, . . . because, our government has simply given up.
19

20   Id. at ¶ 9.
21
     33.    Californians for Population Stabilization (“CAPS”) is a 501(c)(3), non-
22

23   partisan, membership-based, public interest organization organized and existing
24
     under the laws of California. See About Us, Californians for Population
25
     Stabilization, http://www.capsweb.org/about/about-us (last visited Dec. 2, 2017).
26

27   CAPS’s mission is to end policies and practices that cause human overpopulation
28

                                               20
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1782 Page 21 of 83




 1
     and the resultant decline in Americans’ quality of life in California and the rest of
 2   the United States. Id. CAPS believes that unending human population growth
 3
     causes environmental damage and overuse of nature’s bounty, leaving an
 4

 5   impoverished Golden State. See id. Unending population growth in California also
 6
     strains local infrastructure. Id. Further, it frays community institutions.
 7

 8   Environmental impacts resulting from unending population growth include, but are
 9
     not limited to: damage to air quality, increasing sprawl, increasing demand for
10
     water, increasing water pollution, increasing greenhouse gases and accelerating
11

12   climate change, exacerbated traffic congestion, school overcrowding, loss of green
13
     space, farmland, forests and wildlife, and other non-renewable resources. See
14

15   generally id. CAPS has members and supporters in every state of the United
16
     States, with a majority residing throughout California. Because essentially all of
17

18
     California’s population growth presently stems from immigration and births to

19   immigrants, CAPS’s priority goal is to reduce both legal and illegal immigration
20
     into California and the United States. Id. Indeed, California’s population nearly
21

22   doubled between 1970 and 2015, going from approximately 20 million to 39.6
23
     million.2 Most of that population growth resulted from immigrants and their
24

25

26   2
         Steven A. Camarota & Bryan Griffith, By State: Number Immigrants and Their
27
     Minor Children, Ctr. for Immigration Studies (March 28, 2016),
28
     http://cis.org/Camarota/Map-Number-Immigrants-Minor-Children.
                                          21
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1783 Page 22 of 83




 1
     offspring. Id. California has the largest share of foreign born of any state in this
 2   nation. Id. In 1970, immigrants and their minor children constituted roughly 13%
 3
     of California’s population—2.6 million people. Id. By 2015, 37.4% of California’s
 4

 5   population was comprised of immigrants and their minor children—nearly 15
 6
     million people. Id. There is no end in sight to the state’s immigration-driven
 7

 8   population growth. CAPS and its members who live, work and pursue recreational
 9
     activities in California are adversely affected by the population growth resulting
10
     from the DHS actions at issue. CAPS members have a substantial interest in
11

12   ensuring that DHS complies with federal law, including the requirements of
13
     NEPA. CAPS and its members are being, and will continue to be, harmed by the
14

15   failure of DHS to make any attempt to comply with NEPA. Plaintiff’s expert
16
     Jessica Vaughan estimates 21% of permanent residents admitted by DHS
17

18
     programs at issue between 2003 and 2015 settled in California. See Ex. 3 at Ex. B:

19   Tables and Graphs of Population Increase Caused By DHS Programs, at 132.
20

21
     34.   Richard D. Lamm, an attorney and Certified Public Accountant, served as

22   Governor of Colorado from 1975 to 1987, and is a longtime member of CAPS. R.
23
     Lamm Aff., attached hereto as Ex. 8 at ¶ 2. Governor Lamm has been a resident of
24

25   Colorado since 1961. Id. at ¶ 1. He is presently Co-Director of Public Policy at the
26
     University of Denver. Id. at ¶ 2. Governor Lamm has “been deeply involved in the
27

28   environmental movement for decades and ha[s] always been concerned about out

                                               22
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1784 Page 23 of 83




 1
     of control population growth.” Id. at ¶ 3. While attending law school at Berkeley
 2   during the years 1958-1961, he “was already appalled at what population growth
 3
     was doing to California.” Id. at ¶ 5. He notes that California’s population has
 4

 5   continued to swell, now largely because of immigration. Id. That is why he joined
 6
     CAPS. Id. In the more than 50 years since Governor Lamm moved to Colorado he
 7

 8   has “embraced and cherished its wilderness.” Id. at ¶ 8. He notes that he has
 9
     climbed 50 of Colorado’s highest peaks, hiked and skied its mountains, and
10
     kayaked its rivers. Id. “That unspoiled, beautiful Colorado that stirred me so deeply
11

12   has fallen victim to population growth, which is inseparable from mass foreign
13
     immigration.” Id. Unhappily, he has “watched Colorado go from a lovely state
14

15   with a high quality of life to a Colorado whose front range (from Pueblo to Fort
16
     Collins) is rapidly becoming a Los Angeles of the Rockies.” Id. Substantial
17

18
     numbers of immigrants have settled in Colorado and the state’s population has

19   more than doubled between 1970 and 2015—from 2.2 million people to about 5.5
20
     million people.3 Many of the newcomers are Americans who have been “crowded
21

22   out of California by endless foreign immigration.” Ex. 8 at ¶ 14. He believes that
23
     his lifelong effort “to save Denver from an environmentally unsustainable, high
24

25

26   3
         See Resident population in Colorado from 1960 to 2016, in millions, Statista,
27
     https://www.statista.com/statistics/206101/resident-population-in-colorado/ (last
28
     visited Dec. 7, 2017).
                                               23
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1785 Page 24 of 83




 1
     growth future would not have been in vain” if DHS had complied with NEPA “as
 2   it was supposed to.” Id. at ¶ 17.
 3
            The National Environmental Policy Act (NEPA), which became law
 4
            in 1970, was supposed to have stopped this kind of ill-considered
 5          population growth from happening. In the 1960s and 1970s, the
 6
            environmental movement understood how important population
            stabilization was to everything it stood for. This emphasis in NEPA
 7          itself of the importance of population growth reflects this priority.
 8          NEPA, the bedrock of our environmental law, was designed to ensure
            for environmentally informed decision making and public
 9
            participation . .... Federal agencies, like the Department of Homeland
10          Security (DHS), are not supposed to carry out actions that affect the
            environment without first considering the consequences. What can
11
            have a greater environmental impact on our states and the nation than
12          immigration? In the days when NEPA was passed, population growth
13          was not substantially a matter of immigration, but now immigration is
            our population’s primary driver. Moreover, it is certainly the primary
14
            driver of population growth that is most within the federal
15          government’s control. Our immigration levels are ultimately a policy
            choice. DHS is the federal agency that actually implements our
16
            nation’s immigration policies, and so DHS is responsible for carrying
17          out the federal policy that has the greatest impact on the environment
18
            of all. And yet, DHS has done zero environmental review of its
            immigration related actions. Zero!
19
     Id. at ¶ 16.
20

21
     35.    Don Rosenberg is a 29-year resident of California. D. Rosenberg Aff. at ¶ 1,
22

23   attached hereto as Ex. 9. He is also the father of Drew Rosenberg, a 25-year old
24
     law student who was hit and killed in 2010 by Roberto Gallo, a Honduran national
25

26
     who illegally entered the United States and subsequently received a long term

27

28

                                              24
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1786 Page 25 of 83




 1
     lawful status under the TPS program, one of the programs at issue in this case. Id.
 2   at ¶ 8. Mr. Rosenberg joined CAPS after his son was killed because:
 3
           mass immigration was imposing huge social and environmental costs.
 4
           Mass immigration wasn’t adding to our quality of life--it was
 5         detracting from it in a tremendous way. Furthermore, our government
 6
           is even fostering and overlooking illegal activity, because our
           “leaders” were more interested in votes, campaign contributions and
 7         the cheap labor . . . .
 8

 9   Id. at ¶ 13. Mr. Rosenberg dreads the ever-increasing congestion of Los Angeles
10
     County’s roads, and resents the ever-increasing air pollution coming from
11

12   “millions of cars sitting on the 101 freeway for hours.” Id. at ¶ 5. Because of the
13
     drought, exacerbated by endless population growth, he and his neighbors no longer
14
     water their yards. Id. at ¶ 6. He finds that “[l]iving in a landscape without plants
15

16   drastically reduces the natural beauty and enjoyability of the surroundings.” Id. Mr.
17
     Rosenberg recognizes that Southern California has a limited water supply and
18

19   “when more people come in, we have no choice but to use less water personally.”
20
     Id. He states:
21

22
           I fear that in the future, the environment will continue to deteriorate in
           Southern California. Despite the fact that we seem to have reached our
23         land’s capacity, and we are already straining to support the population
24         we have now, DHS seems to only want to force ever more population
           growth on the nation. For Southern California’s future, I see more
25
           water shortages, more traffic, and more pollution. The state is already
26         in a hole, and it just seems like our public officials are looking for a
           bigger shovel. It will probably drive me out of California in the future.
27

28

                                               25
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1787 Page 26 of 83




 1
     Id. at ¶ 14. Finally, Mr. Rosenberg wistfully muses that perhaps, if DHS had
 2   complied with NEPA, it might not have created such a huge TPS program, which
 3
     allowed his son’s killer to stay in the United States, and maybe his son would still
 4

 5   be alive. Id. at ¶ 16.
 6
     36.    Claude Wiley joined CAPS because “something needs to be done about the
 7

 8   population explosion, the reckless disregard of immigration laws, and the
 9
     ecological impacts” resulting from both. C. Wiley Decl. at ¶ 2, attached hereto as
10

11   Ex. 10. He lives in Pasadena, California, and commutes to work by bicycle
12
     (wearing a mask) because he is “dedicated to doing [his] part to reduce pollution
13
     and carbon emissions.” Id. at ¶ 5. But large scale unending population growth in
14

15   the Los Angeles region, all of which now results from immigration, simply adds
16
     ever more pollution and erases air quality gains. Id. at ¶ 5. Mr. Wiley is frustrated
17

18   because “if not for the immigration-driven population growth, the air quality in the
19
     Los Angeles region would be getting better.” Id. at ¶ 10. He takes mass transit to
20

21
     lessen his impact on the environment and observes that, due to strong state and

22   local policies to support mass transit, the buses and the trains are full and yet the
23
     roads are still choked with cars: “we’re starting to hit a wall.” Id. at ¶ 13. The
24

25   lovely places where Mr. Wiley has enjoyed hiking and nature-watching over the
26
     years, including the San Gabriel Mountains and Echo Mountain, grow ever more
27

28   crowded with people, and “[t]he more crowded the path becomes, the less I want to

                                                26
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1788 Page 27 of 83




 1
     use it.” Id. at ¶ 15. Like others, Mr. Wiley fears for California’s future if
 2   population growth trends continue unabated. Id. at ¶ 18. He notes that “DHS
 3
     continues to drive population growth through its discretionary actions . . . .” Id. “If
 4

 5   DHS had only followed its legal obligations under NEPA, perhaps the public
 6
     would have realized the impact immigration was having on the environment and
 7

 8   made different decisions—Perhaps the Los Angeles area and California would
 9
     look very different today.” Id. at ¶ 17.
10

11   37.   Ric Oberlink has lived in Berkeley California for nearly 40 years and is a
12
     member of CAPS. R. Oberlink Aff., attached hereto as Ex. 11, at ¶ 1-2. As the
13
     population of California, and particularly the Bay area, has continued to rise, his
14

15   enjoyment of local parks has diminished due to increased crowding. Id. at ¶ 4. He
16
     notes that “[a]n increased human population has made camping in wilderness areas
17

18   and national parks much more troublesome and much less convenient than it was
19
     in previous years when population levels were lower.” Id. at ¶ 5. “Camping spots
20

21
     in prime areas at prime times require advance reservations, often far in advance.”

22   Id. at ¶ 5. Mr. Oberlink’s enjoyment of cycling has also diminished because areas
23
     he once cycled through are more heavily trafficked and open space has been
24

25   developed. Id. at ¶ 8. He notes that during the years 1990-2014, the population
26
     increase in Alameda County, where Berkeley is located, all resulted from
27

28   immigration. Id. at ¶ 11. By 2014, immigrants comprised 31% of the county

                                                27
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1789 Page 28 of 83




 1
     population, or 483,750 individuals out of a total population of 1,559,308. Id. He
 2   states that in Alameda County, “the portion of the population comprised of
 3
     immigrants soared from 18 percent in 1990 to 31 percent in 2014, to a total of
 4

 5   about half a million,” not counting offspring. Id. Mr. Oberlink asserts that:
 6
            Had DHS considered the environmental implications of its
 7          immigration actions, it might have chosen different actions, resulting
 8          in a California and an America with lower levels of population, more
            open space and wildlife habitat, and less environmental damage than
 9
            that which we have today. Failure to review future actions could
10          condemn this country to never-ending population growth and further
            diminution of natural resources.
11

12   Id. at ¶ 19.
13

14
     38.    Richard Alan Schneider is the Chair of CAPS. R. Schneider Aff., attached

15   hereto as Ex. 12 at ¶ 2. Mr. Schneider has lived for nearly fifty years in California,
16
     mostly in Oakland. Id. at ¶ 1. Mr. Schneider, a conservationist and scientist, has
17

18   “spent thousands of hours fighting to protect open space in the Bay Area . . . .” Id.
19
     at ¶ 13. He states:
20

21          Since 2000, I have orchestrated nine open space initiative campaigns
            in Alameda and Contra Costa Counties—formulating policies to
22
            protect the land, helping write the text to enact those policies,
23          organizing signature drives to qualify the initiatives for the ballot,
24          raising money for election campaigns, and then walking precincts and
            distributing literature in favor of those ballot measures. For each
25
            initiative I have put in hundreds of hours of volunteer time, and when
26          an initiative passes, as most have, they must be defended in court if
            the developers sue; and after they are successfully defended, they
27
            must be continually monitored to make sure they are implemented and
28          enforced by the local jurisdiction.
                                               28
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1790 Page 29 of 83




 1

 2   Id. at ¶ 12.
 3

 4   39.    Mr. Schneider has spent so much time trying to protect open space because
 5
     he enjoys observing native California species, such as hawks and eagles, and
 6

 7
     irreplaceable native habitats. Id. at ¶¶ 18-19. The species he treasures and the open

 8   space he loves regularly disappear. Id. He states that “California leads the nation in
 9
     the number of species at risk of extinction and the number of endemic species at
10

11   risk, those species that occur nowhere else in the world.” Id. at ¶ 18. The
12
     disappearance of nature and wildlife is deeply disturbing to Mr. Schneider. See id.
13

14   at ¶¶ 19-20. Land is routinely bulldozed for new construction, all in service of
15   accommodating endless population growth:
16

17
            Is it really too many people that are causing this loss of wildlife? In
            California, the answer is most emphatically yes. The California
18          Department of Fish and Wildlife, in its Atlas of the Biodiversity of
19          California, states unequivocally, “Habitat loss due to human
            population growth presents the single biggest problem facing native
20
            plants and animals in California.”
21

22   Id. at ¶ 20
23
     40.    Mr. Schneider observes that presently, all of California’s population growth
24

25   is “coming from foreign immigration and births to immigrants.” Id. at ¶ 25.
26
     California’s population continues to climb even though more U.S. citizens leave
27

28   California for other states than move to California. Id. He views population growth

                                               29
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1791 Page 30 of 83




 1
     as “one of the greatest threats to the natural world.” Id. at ¶ 27. And, like other
 2   affiants, he is “amazed and appalled by DHS’s total abdication of its legal
 3
     obligations under NEPA.” Id. at ¶ 26.
 4

 5   41.   Scientists and Environmentalists for Population Stabilization (“SEPS”) is a
 6
     small, informal, non-governmental organization run by scientists, but open to all.
 7

 8   See generally Scientists and Environmentalists for Population Stabilization,
 9
     http://www.populationstabilization.org/index.html (last visited on Dec. 8, 2017). It
10

11   currently has about 50 members throughout the United States. Id. SEPS’s mission
12
     is to improve understanding within the U.S. scientific, educational, and
13
     environmental communities of the fact of overpopulation and its social, economic,
14

15   and environmental consequences at both the national and global levels. See
16
     generally id. SEPS advocates for U.S. population stabilization, followed by its
17

18   gradual reduction to a sustainable level through humane, non-coercive means. Id.
19
     SEPS also advocates for a gradual transition to ecological economics for our
20

21
     economic system. See generally id. It chiefly advocates by operating exhibitor

22   booths addressing population stabilization at the annual meetings of scientific
23
     societies; SEPS is usually the only U.S. organization of its kind at these meetings.
24

25   See id.
26
     42.   Dr. Stuart Hurlbert is the president of SEPS and a longtime member of
27

28   CAPS. S. Hurlbert Aff., attached hereto as Ex. 13 at ¶ ¶ 4, 16. Dr. Hurlbert is
                                               30
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1792 Page 31 of 83




 1
     Professor Emeritus of Ecology at San Diego State University and has lived in San
 2   Diego and Del Mar, California, since 1970. Id. The negative impacts of constant
 3
     population growth have been an ongoing subject of personal and professional
 4

 5   concern for Dr. Hurlbert for many years. Id. at ¶ ¶ 1-2. San Diego County’s
 6
     population has more than doubled from 1.36 to 3.30 million people since 1970.4 A
 7

 8   substantial share of the population growth is the result of immigration. As an
 9
     example, the immigrant share of the population in San Diego County has risen
10
     from 17.2% in 1990 to 23.4% in 2014. S. Hurlbert Aff. at ¶ 5. Unending population
11

12   growth translates into more traffic, despite the addition of new freeways and
13
     expansion of existing roads. Id. at ¶ 5. Dr. Hurlbert avers that ever more traffic,
14

15   and the congestion it creates, means “loss of time, restriction of travel schedules,
16
     and increased aggravation [which] has had a negative impact” on him. Id. A
17

18
     particular source of unhappiness is the increasing degradation of Mission Trails

19   Regional Park, one of the largest urban parks in the United States, which Dr.
20
     Hurlbert has enjoyed both personally and professionally over the decades, for
21

22

23   4
         See Population of San Diego County, Population.us,
24
     http://population.us/county/ca/san-diego-county/ (last visited on Oct. 15, 2016);
25
     Tatiania Sanchez, SD County second largest in CA, despite slow growth, The San
26
     Diego Union Tribune, (Jan. 4, 2016),
27
     http://www.sandiegouniontribune.com/news/border-baja-california/sdut-san-diego-
28
     county-population-2016jan04-story.html.
                                           31
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1793 Page 32 of 83




 1
     hiking, birdwatching, and class trips. Id. at ¶ 7. The vastly increased use of the park
 2   and its concomitant deterioration over the decades has corresponded with the
 3
     population growth of San Diego County. See id. Areas in Del Mar that Dr. Hulbert
 4

 5   used to hike with his son are now covered with “new highways, new housing
 6
     developments and new shopping centers.” Id. at ¶ 8. For Dr. Hurlbert, “[o]ne of the
 7

 8   biggest ongoing, population-driven environmental disasters in Southern California
 9
     is what is happening at the Salton Sea.” Id. at ¶ 9. Dr. Hurlbert has studied the
10
     Salton Sea for several decades. It is “one of the most important habitats for
11

12   waterbirds of diverse sorts in the Southwest” and Dr. Hurlbert has enjoyed bird
13
     watching there for fifty years. Id. at ¶¶ 9, 11. Much to Dr. Hurlbert’s dismay,
14

15   population growth now threatens the Salton Sea because the water that drains into
16
     it is now being tapped for diversion to facilitate population growth in coastal
17

18
     California. See id. at ¶ 9. “It pains me greatly to be a witness to its population-

19   driven demise.” Id. at ¶ 11. Dr. Hurlbert is well acquainted with NEPA and
20
     distinctly recalls being “greatly pleased at its passage, with its clear references to
21

22   the ‘profound influences of population growth’ and ‘the critical importance of
23
     restoring and maintaining environmental quality’ and the need to ‘achieve a
24

25   balance between population and resource use.’” Id. at ¶ 16. He notes that
26
     population growth in both California and the United States in now driven primarily
27
     by immigration, and “[i]f DHS and its predecessor agencies had been doing proper
28

                                                32
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1794 Page 33 of 83




 1
     NEPA analyses all along, it might have changed it policies long ago, and I might
 2   have seen much less damage occur to the places I love.” Id. at ¶ 19.
 3

 4
     43.   Glen Colton has lived in Fort Collins, Colorado, for 37 years. G. Colton

 5   Aff., attached as Ex. 14 at ¶ 1. When he moved to Fort Collins, the town had
 6
     65,000 residents and was surrounded by “wide open spaces” and agricultural land.
 7

 8   Id. at ¶ 3. At that time Fort Collins was “an idyllic place to live, work, and raise a
 9
     family.” Id. at ¶ 3. Over the decades, however, the town’s population has soared to
10

11   160,000 today. Id. at ¶ 4. Its population is expected to grow by another 80,000 over
12
     the next 10 to 15 years with no end to the growth in sight. See id. Many of the
13
     agricultural areas and “wide open spaces” that used to surround the city are gone.
14

15   See id. The population of the surrounding region is “projected to nearly double”
16
     from 500,000 to one million people within 20 years, with no end in sight. See id.
17

18   Mr. Colton is negatively impacted by the endless surge of population growth which
19
     causes sprawl, degradation of the Poudre River, loss of nature and wildlife,
20

21
     increasing light and air pollution, and increasing traffic and congestion. See id. at

22   ¶¶ 5-7. Like Mr. Oberlink, Mr. Colton’s enjoyment of protected public land in the
23
     region has diminished because more and more users are “putting increasing
24

25   pressure on trails, fragile habitat and wildlife.” Id. at ¶ 8. He unhappily notes that
26
     Estes Park, the gateway to Rocky Mountain National Park, has changed over the
27

28   years he has visited and now “is a crowded, congested mess . . . .” Id. at ¶ 8. The

                                                33
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1795 Page 34 of 83




 1
     destruction of the natural world from “rampant and destructive effects of
 2   population growth” is evident to Mr. Colton as he travels around the western
 3
     United States. Id. at ¶ 10. He states that “[w]ater issues are becoming increasingly
 4

 5   dire, infrastructure is overloaded, wildlife habitat is being destroyed, development
 6
     is rapidly encroaching on fire prone areas, congestion and crowding is widespread,
 7

 8   and consumption and resulting energy usage . . . are increasing.” Id. He does not
 9
     believe that this endless population growth is ecologically sustainable, and indeed
10
     feels “incredibly betrayed and cheated by the United States” because he chose to
11

12   have only one child to help stabilize the nation’s population yet the federal
13
     government has embraced a national population policy that imposes unending
14

15   massive population growth through immigration. Id. at ¶ 15. DHS and the State
16
     Department are “de facto U.S. growth spigot[s]” that have completely ignored
17

18
     NEPA. Id. at ¶ 17. If these agencies had complied with NEPA, “the US

19   landscape . . . would most likely look very different today.” Id.
20

21
     44.   Caren Cowan has been the Executive Director of the New Mexico

22   Cattlegrowers’ Association (“NMCGA”) for nineteen years. C. Cowan Aff.,
23
     attached hereto as Ex. 15 at ¶ 2. The purpose of NMCGA is to promote the
24

25   interests of the cattle-ranching community in New Mexico and nineteen other
26
     states. Id. As Ms. Cowan states, “We preserve and protect our land not only
27

28   because we depend on the land economically, but also because we love our land

                                              34
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1796 Page 35 of 83




 1
     and way of life. We also seek to protect the land in order to ensure the wellbeing
 2   and opportunities of generations to come.” Id. at ¶ 3. Ms. Cowan’s family has been
 3
     continuously ranching in Cochise County, Arizona, since 1884, and she owns part
 4

 5   of a ranch near Elfrida, Arizona. Id. at ¶ 4. She has always enjoyed being on the
 6
     borderlands and calls them “a special place.” Id. at ¶ 6. Ms. Cowan states, “I
 7

 8   experience a spiritual renewal when I am out in these vast open spaces with no
 9
     sounds other than wildlife and livestock, and not a person for miles around.” Id.
10
     Because of the constant fear of illegal border-crossers, Ms. Cowan no longer feels
11

12   safe out on the range. Id. at ¶¶ 5, 7 Her grandmother’s homestead was ransacked
13
     and despoiled by illegal aliens on multiple occasions. Id. at ¶ 9. Many members of
14

15   NMCGA have also experienced criminal activities on their lands, including stolen
16
     vehicles and break-ins. Id. at ¶ 7. Ms. Cowan understands that DHS has failed to
17

18
     consider any of the environmental impacts resulting from its myriad of agency

19   actions, and finds that failure a “shocking disappointment.” Id. at ¶ 10.
20

21
     45.   John W. Ladd is a supervisor for the HNRDC and a member of the AACD.

22   J. Ladd Aff., attached hereto as Ex. 16 at ¶ 4. Mr. Ladd has lived his entire life on a
23
     16,400-acre ranch on the Arizona/Mexico border. Id. at ¶ 1. The ranch has been in
24

25   his family since 1896. Id. at ¶ 1. He states that “[r]anching on this land is my
26
     heritage--passed from previous generations to me, and it is a way of life I have
27

28   always hoped to pass on to many generations to come.” Id. During his youth,

                                               35
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1797 Page 36 of 83




 1
     illegal border-crossers were not much of a problem, but he states the flow “has
 2   become such a problem that it has ruled our lives and dictated the way we ranch.
 3
     An endless stream of illegal border crossers has trashed my land and destroyed my
 4

 5   enjoyment of my property.” Id. at ¶ 2. The grass has stopped growing in areas used
 6
     as trails and “[t]he ground where grasses no longer grow is an eyesore that reminds
 7

 8   me of how much environmental damage I am constantly suffering.” Id. at ¶ 9. He
 9
     estimates that hundreds of thousands of illegal border-crossers have been caught by
10
     the border patrol on his property. Id. at ¶ 5. This huge flow of people has led to the
11

12   dumping of approximately 20 tons of trash on his property—too much to control,
13
     despite the efforts of Mr. Ladd and his family to pick up as much as they can. See
14

15   id. at ¶ 6. Much of this garbage ultimately gets swept into the San Pedro River,
16
     which was clean enough to swim in when he was young but is now polluted with
17

18
     trash and human waste. See id. at ¶¶ 6-7. Mr. Ladd understands that DHS has never

19   done “any environmental analysis that acknowledges that arriving aliens have
20
     environmental impacts.” Id. at ¶ 13. This failure affects Mr. Ladd personally,
21

22   because “[i]f DHS had done the proper NEPA analysis of the environmental
23
     impacts of its policies before implementing them, perhaps it would have realized
24

25   that the environmental costs were too severe. The damages to the environment on
26
     my land might never occurred if DHS and the INS had followed NEPA.” Id. at ¶
27
     14.
28

                                               36
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1798 Page 37 of 83




 1
     46.   John Charles Oliver is the President of Floridians for a Sustainable
 2   Population (“FSP”). J. Oliver Aff., attached hereto as Ex.1 7 at ¶¶ 4, 17. FSP was
 3
     established as a not-for-profit in 1994 in an effort to educate Floridians about the
 4

 5   necessity to stabilize Florida’s human population in order “to preserve and protect
 6
     our natural resources and open spaces for future generations to enjoy.” Id. at ¶ 17.
 7

 8   FSP recognizes that immigration is now the engine driving population growth in
 9
     both Florida and the entire United States. See id. FSP operates a website and,
10
     among other things, commissioned a sprawl study in 2000 to coincide with Florida
11

12   Overpopulation Awareness Week. Id. In the fifteen years following that 2000
13
     campaign, Florida’s population has continued to mushroom, from about 16 million
14

15   to over 20 million. Id. at ¶ 16. Mr. Oliver has lived 28 years in Southeastern
16
     Florida—Broward, Palm Beach, and Martin Counties. Id. at ¶¶ 1, 6. The
17

18
     population of Broward increased from 628,980 to 1,815, 269 from 1970 to 2014.

19   Id. at ¶ 16. Palm Beach County tells much the same story; its population grew from
20
     353,158 in 1970 to 1,359,074 in 2014. Id. Martin County’s population has
21

22   increased from 28,460 in 1970 to 149,658 in 2014. Id. During the years he has
23
     lived in Florida, Mr. Oliver has witnessed and experienced the harmful impacts of
24

25   intense population growth upon the natural world, especially water habitats. Id. at ¶
26
     13. Mr. Oliver is a certified diver and has “done extensive diving and fishing on
27
     the reefs of Broward and Palm Beach Counties, the Florida Keys, the Bahamas,
28

                                               37
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1799 Page 38 of 83




 1
     and Cozumel Mexico.” Id. at ¶ 2. Coral reefs he enjoyed so much in the 1970’s are
 2   largely gone now: “Today, the beautiful coral reefs I dived and fished [on] in
 3
     Broward and Palm Beach County are no longer living[;] [93%] of hard corals have
 4

 5   vanished due to six municipal sewage outfalls, port-dredging, and coral bleaching
 6
     due to carbon acidification caused by the increase of fossil fuels being burned.” Id.
 7

 8   at ¶ 9. Formerly an avid fisher, Mr. Oliver no longer fishes as often as he did
 9
     before because boat launches are backed up and it is hard to find a place to put
10
     one’s boat in the water. Id. at ¶ 14. Previously-free boat ramps now charge money.
11

12   Id. Moreover, numerous waterways, especially the St. Lucie River, have become
13
     polluted and contaminated by the septic tanks installed for thousands of new
14

15   homes built along the river and fertilizer nitrate runoff:
16
           The river grasses that covered the bottom of the estuary are now dead
17         and the bottom is covered with green slime. These grasses were
18         essential to sustaining the entire food chain of fish, birds, turtles, and
           marine mammals. Many of the dolphins and manatees have sores on
19
           their bodies and some have died. Unfortunately, this scenario is being
20         repeated at an alarming pace in waters across the state. The estuary of
21
           the west coast of Florida by Pine Island that was one of my favorite
           places to fish has also seen declining water quality.
22

23
     Id. at ¶ 13. Mr. Oliver further notes that “[m]any species of table fare fish are now
24

25   heavily regulated due to overharvesting . . . [n]umerous reefs in the Florida Keys
26
     have become Marine Sanctuaries and are totally off limits to fishing.” Id. at ¶ 15.
27
     Florida’s rapid population growth over the past fifty years has been exacerbated by
28

                                               38
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1800 Page 39 of 83




 1
     large inflows of immigrants—over 25% of Florida’s 20-million plus-population are
 2   immigrants and their children. Id. at ¶ 16. Most of Florida’s recent population
 3
     growth is presently the result of federal immigration policies—67% according to a
 4

 5   recent report, “Vanishing Open Spaces.” Id. at ¶ 19. Mr. Oliver understands that
 6
     DHS has not considered the environmental impacts of its myriad immigration-
 7

 8   related actions, all the while, he says, “it has been established without question that
 9
     the doubling and tripling of our population has had a very detrimental effect on our
10
     environment.” Id. at ¶ 23.
11

12
     47.   Ralph Pope is a retired Natural Resource Management/Ecologist for the U.S.
13
     Forest Service. R. Pope Aff., attached hereto as Ex. 18 at ¶ 7. Mr. Pope has lived in
14

15   Southeastern Arizona and Southwestern New Mexico along the U.S/Mexico border
16
     for most of his life. See id. at ¶¶ 1-2. His affidavit details his personal and
17

18   professional pleasure over the decades, experiencing and enjoying the entire
19
     “scope and range of southwest ecosystems, from desert to high elevation mixed
20

21
     conifers.” See id. at ¶ 10. He notes his particular affection for the region’s famed

22   “sky islands”—hot spots of great biodiversity found nowhere else on the globe. Id.
23
     Mr. Pope devoted his career to monitoring and trying to protect the Piloncillo,
24

25   Chiricahua, and Dragoon Mountains, federal lands which make up the Douglas
26
     Ranger District. Id. at ¶ 4. His job with the Forest Service entailed monitoring
27

28   ecosystem health and livestock grazing operations on federal lands. Id.

                                                39
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1801 Page 40 of 83




 1
     Unfortunately, over the decades, Mr. Pope has personally witnessed the ecological
 2   degradation of “unique native ecosystems located on hundreds of thousands of
 3
     acres of once pristine and unspoiled lands . . . .” Id. at ¶ 5. This degradation was
 4

 5   caused by illegal border-crossings, whose destructive impacts include trampled
 6
     native vegetation, garbage, polluted water, destroyed wilderness and fires that burn
 7

 8   out of control. Id. at ¶ 11. Mr. Pope’s affidavit describes the destruction of Burro
 9
     Springs and the Chiricahua Mountain Range that occurred as a result of fires set by
10
     illegal border-crossers. See id. at ¶¶ 11, 14. One significant negative impact of such
11

12   fires is that much of the native vegetation gets burned away and is replaced by
13
     invasives. See id. at ¶ 15. He states that “[a]s an ecologist, this upsets me
14

15   tremendously.” Id.
16

17   B.    DEFENDANTS
18
     48.   Defendant DHS is a federal agency which was established in 2003, pursuant
19

20   to the Homeland Security Act passed on November 25, 2002. See Homeland
21
     Security Act of 2002, Pub. L. No. 107–296, 116 Stat. 2135 (2002) (“Act”).
22

23
     Pursuant to this grant of authority, DHS is mandated to administer border security,

24   immigration enforcement, naturalization, and establish and administer rules
25
     governing the granting of visas or other forms of permission to enter the country.
26

27   See 116 Stat. at 2178, 2187. By the authority of the Act, DHS took over the
28
     functions of government formerly delegated by Congress to the INS, a division
                                            40
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1802 Page 41 of 83




 1
     since 1940 of the Department of Justice. DHS now carries out the functions of the
 2   former INS, that is, the regulation of immigration into the U.S., through three sub-
 3
     agencies, U.S. Customs and Border Protection (“CBP”), U.S. Citizenship and
 4

 5   Immigration Services (“USCIS”), and Immigration and Customs Enforcement
 6
     (“ICE”).5 As a federal agency, DHS is subject to NEPA and the APA. In
 7

 8   accordance with NEPA, DHS has adopted NEPA regulations to guide its
 9
     discretionary agency action decision making. See 42 U.S.C. § 4333 (2016). See Ex.
10
     1 and Ex. 2. See also Synopsis of Administrative Record to Support Proposed New
11

12   Categorical Exclusions Under the National Environmental Policy Act, Dep’t of
13
     Homeland Sec. (Dec. 2014),
14

15   https://www.dhs.gov/sites/default/files/publications/CATEXs_admin%20record_ve
16
     rsion_Final_Dec2014_508compliantversion.pdf.
17

18
     49.     Defendant Kirstjen Nielsen is sued in her official capacity as the Secretary of
19

20
     DHS (“Secretary”). The Secretary is authorized to lead and manage DHS. The

21   Secretary is responsible for ensuring that DHS’s actions, such as those actions at
22
     issue sub judice, comply with the requirements of NEPA.
23

24

25

26   5
         Our History, U.S. Citizenship and Immigration Servs. (May 25, 2011),
27
     https://www.uscis.gov/about-us/our-history (providing a discussion of the history
28
     of the organization of immigration regulation within the U.S. government).
                                             41
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1803 Page 42 of 83




 1

 2
                               GENERAL ALLEGATIONS
 3

 4   People Cause Environmental Impacts. DHS’s Programs That Regulate the
 5   Entry Into and Settlement of People in the United States Causes Human
 6   Population Growth. Accordingly, NEPA Requires Analysis by DHS of these
 7   Programs.
 8

 9
     50.   DHS fails to analyze the environmental impacts of its programs/actions that

10   have allowed and continue to allow millions of foreign nationals to enter into and
11
     settle in the United States. These programs/actions result in significant population
12

13   growth that produces ongoing myriad environmental impacts. Plaintiffs
14
     accordingly assert that NEPA requires DHS to assess the impacts of its
15

16   programs/actions under NEPA:
17
     i)    NEPA requires Federal agencies to apply NEPA when undertaking federal
18
     actions and making decisions that could have a significant impact on the human
19

20   environment. CEQ regulation 40 C.F.R. §1508.18(a) provides that federal
21
     programs constitute “major federal actions” subject to NEPA compliance. 40
22

23   C.F.R. §1508.18(3) provides that federal actions include: “Adoption of programs,
24
     such as a group of concerted actions to implement a specific policy or plan;
25

26
     systematic and connected agency decisions allocating agency resources to

27   implement a specific statutory program or executive directive.”
28

                                              42
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1804 Page 43 of 83




 1
     ii)    People cause myriad impacts to the environment. Additional people result in
 2   additional impacts to the environment. See Ex. 5.
 3
     iii)   The primary factor driving U.S. population growth is international
 4

 5   migration. Immigrants from abroad add directly to the nation’s population by their
 6
     arrival and by the children they have after they come. Because the fertility of
 7

 8   American women has been at or below replacement level for many years—2.1
 9
     children per women—absent immigration there would be very little long-term
10
     population growth in the United States. Census Bureau projections published in
11

12   2014 indicate that because of future immigration the U.S. population will be 95
13
     million larger in 2060 than it would be absent immigration. See Ex. 4 at 182. The
14

15   Pew Research center reported in 2015 that the 72 million post-1965 immigrants
16
     and their offspring and grandchildren account “for the majority of U.S. population
17

18
     growth in the past five decades.” See Ex. 4 at 183. Indeed, Plaintiffs’ demographic

19   expert Dr. Camarota estimates that during the years 2010-2014, immigration and
20
     immigrant offspring added 8.3 million people to the U.S. population. This increase
21

22   comprises 87% of U.S. population growth during that brief period. Id.
23
     iv)    DHS is the agency charged with the mission of regulating and controlling
24

25
     the entry into and settlement of foreign nationals in the United States. DHS
26   therefore is the agency that regulates most of the population growth of the United
27
     States.
28

                                              43
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1805 Page 44 of 83




 1
     v)     It is thus indisputable that DHS controls one of the most environmentally
 2   significant mandates delegated to any federal agency, and yet DHS fails even to
 3
     consider the direct, much less the enormous indirect and cumulative, environmental
 4

 5   impacts of its programs relating to its statutory mission.
 6
     51.   DHS, like its predecessor agency INS, has continuously failed to make well-
 7

 8   informed decisions; has failed to conduct reasoned analyses of potential impacts to
 9
     the human environment resulting from its programs; and has failed to engage the
10
     public on the range of potential environmental impacts or create public records so
11

12   that interested or affected members of the public could learn about the
13
     environmental implications of DHS programs. Yet all of these steps are required by
14

15   both NEPA and the APA.
16
     52.   Despite the enormous impacts to the human environment resulting from
17

18
     DHS’s programs regulating the entry into and settlement of foreign nationals in the

19   United States, DHS has failed to initiate any NEPA review for these ongoing
20
     programs. DHS has implemented at least eight programs regulating the entry and
21

22   settlement of foreign nationals promulgated pursuant to its authority under the
23
     nation’s immigration laws, specifically the Immigration and Nationality Act, Pub.
24

25
     L. No. 82-414, 66 Stat. 163 (1952), (the “INA”). These programs were created and
26   updated through DHS’s ongoing exercise of discretion, via the adoption of both
27
     regulations and policy memoranda. The programs at issue in this complaint, as well
28

                                               44
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1806 Page 45 of 83




 1
     as other DHS’ exercises of discretion, have resulted and will continue to result in
 2   impacts to the human environment, including but not limited to significant ongoing
 3
     population growth in the United States; unending increases in the population
 4

 5   density of numerous localities throughout the United States (especially California).
 6
     In addition, as a result of the implementation of four of these programs, the entry of
 7

 8   large numbers of foreign nationals has led to further significant, ongoing
 9
     environmental degradation along the Southwest border.
10
     53.   In the few paltry places where DHS makes reference to NEPA with respect
11

12   to its actions regulating the entry into and settlement of foreigners in the United
13
     States, DHS does so in a dismissive manner, and its record of decisions are
14

15   woefully devoid of even the most basic forms of analytical support.
16
     54.   One can only conclude—as the Plaintiffs in this case have—that DHS, with
17

18
     its outsized influence on our nation’s population growth and ipso facto upon our

19   nation’s environmental health, has acted and continues to act in a manner that is
20
     arbitrary and capricious with respect to its NEPA obligations.
21

22
       DHS’ Eight Programs Regulating the Entry Into and Settlement of Foreign
23
                                Nationals in the United States
24

25   55.   DHS has established, pursuant to statutory authority or executive directive,
26
     and in some cases with input from other federal agencies, at least eight programs
27

28   that accept and allow for long-term settlement of foreign nationals in the country.
                                               45
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1807 Page 46 of 83




 1
     These eight programs do not represent all entry and settlement by foreign nationals
 2   in the United States, but they do comprise the bulk of the programs substantially
 3
     administered by DHS that allow for foreign nationals’ entry and long-term
 4

 5   settlement. These programs were created through systematic and connected agency
 6
     decisions allocating agency resources in order to implement specific statutory
 7

 8   programs or executive directives. The eight programs are:
 9
     1) Employment based immigration authorized by INA § 203(b);
10

11
     2) Family based immigration, authorized by INA § 203 (a) and INA § 201(b);

12
     3) Long term nonimmigrant visas, authorized by INA § 214;
13

14
     4) Parole, authorized by INA § 212 (d)(5)(A);

15   5) Temporary Protective Status, authorized by INA § 244;
16
     6) Refugees, authorized by INA § 207;
17

18   7) Asylum, authorized by INA § 208; and
19
     8) Deferred Action for Childhood Arrivals (“DACA”), authorized by executive
20

21   order.6
22

23
     6
       The DACA program is an ongoing program under which hundreds of thousands
24   of foreign nationals currently hold two-year permits to remain and work in the
25   United States. DACA is a special case among the ongoing programs in this lawsuit
     implemented by DHS because it authorized by executive directive rather than
26
     statutory authority. See Memorandum by Janet Napolitano, “Exercising
27   Prosecutorial Discretion with Respect to Individuals Who Came to the United
28
     States as Children,” June 15, 2012 in Ex. 3 at 171-173. Its future is currently
     uncertain, as the Department of Justice currently takes the position (undisputed by
                                              46
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1808 Page 47 of 83




 1
     56.   DHS administers these programs in its discretion primarily through the
 2   promulgation of regulations and the adoption of policy memoranda. The
 3
     regulations and policy memoranda DHS adopts are interdependent and are done in
 4

 5   order to carry out the authorized programs.
 6
     57.    The eight programs at issue in this lawsuit have led to the entry and
 7

 8   settlement of approximately 35 million foreign nationals in total. Table 1 below,
 9
     complied by Plaintiffs’ Expert Jessica Vaughan and also included in Ex. 3 at 128,
10

11
     presents her best estimate of how many foreign nationals have arrived through each

12   program.
13

14

15

16

17

18

19

20

21

22
     the Plaintiffs) that such a program is only lawful if authorized by statute, as
23   proposed by some members of Congress. A significant number of individuals
     currently hold permits that will not expire until 2019, and DHS will continue to
24
     process applications until March 5, 2018, so under current plans, which are subject
25   to change, individuals will continue to hold valid DACA permits at least until
26   March 5, 2020. DACA is thus an ongoing program. See President Donald J.
     Trump, Statement from President Donald J. Trump (Sept. 5, 2017) (discussing
27
     DACA). https://www.whitehouse.gov/the-press-office/2017/09/05/statement-
28   president-donald-j-trump.
                                              47
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1809 Page 48 of 83




 1   Table 1:
 2   Table of Total* Number of Individuals Added on Long Term or Permanent
 3   Basis to United States Population by Program since each Program’s Creation
 4   in Substantially Current Form, based on available information. **
 5                    DHS Program                       Total Number Admitted or
 6                                                      Issued
 7   Family Based Immigration Admissions between                 14,622, 847
 8   1992 and 2015
 9   Employment Based Immigration                                3,274,245
10   Admissions between 1992 and 2015
11   Long Term Non-Immigrant Visa Issuances                      12, 214,328
12   between 1992 and 2016 ***
13   Parole Admissions between 1996 and 2015                       53,378
14   Temporary Protective Status                                  377, 218
15   Grants (Estimated) between 1992 and 2017
16   Refugee Admissions between 1980 and 2015                    3,050,023
17
     Asylum Approvals/Adjustments to LPR Status                   789,935
18
     between 1980 and 2015****
19
     Deferred Action for Childhood Arrivals Grants                793,026
20
     between
21
     2012-2017
22
     * The cutoff date where information is available varies by program.
23
     **While most of these foreign nationals were added permanently, in some
24
     programs, legal status was never made permanent.
25
     *** Breakdown of categories included in Table 2.
26
     ****Includes counts of approvals for 1980-1991 and counts of adjustments of
27
     status from 1992-2015.
28

                                             48
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1810 Page 49 of 83




 1

 2   58.   Furthermore, when foreign nationals enter the United States, the resulting
 3
     population growth is not merely limited to those individuals who enter the country
 4
     and the children they will have. Foreign nationals who ultimately become lawful
 5

 6   permanent residents (“LPRs”) can themselves sponsor further immigration to the
 7
     country via what is known as “chain migration.” One prominent team of
 8

 9   researchers has calculated a chain migration “multiplier.”7 This multiplier is based
10
     on data on family-sponsored immigration for the period 1996-2000. According to
11
     this research, every 100 original immigrants to the United States during this period
12

13   sponsored another 345 family members as immigrants. See Ex. 3 at 108-109.
14
     59.   These eight programs are described and analyzed in Ex. 3 by expert Jessica
15

16   Vaughan. See Ex. 3, Ex. A and B thereto, at 106-132. Ms. Vaughan identifies in
17
     Ex. 3, specifically in Ex. C: Regulations and Policy Memoranda Implementing
18

19
     DHS Programs, 81 of the specific, discrete instances where DHS has undertaken

20   regulatory action to implement each of the eight programs. See Ex. 3 at 134-138.
21
     Because the implementation of these eight programs has also been substantially
22

23   affected by ad-hoc policy decisions that DHS never promulgated as regulations,
24

25
     7
26
      Stacie Carr & Marta Tienda, Family Sponsorship and Late-Age Immigration in
     Aging America: Revised and Expanded Estimates of Chained Migration, Popul.
27   Res. Policy Rev. (Dec. 2013), available at
28   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3884518/.

                                              49
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1811 Page 50 of 83




 1
     Ms. Vaughan also identifies and includes five specific instances of policy
 2   memoranda revising the programs. These five are listed and included in full. See
 3
     Ex. 3 at 138-175. As each of these programs is extremely complex, Ms. Vaughan
 4

 5   does not purport to have identified every single instance when these programs were
 6
     revised. Ms. Vaughan briefly describes how each regulation or policy decision
 7

 8   implements each program. See Ex. 3 at 134-139.
 9
     60.   The vast scope of these eight programs is underscored by the large number
10

11
     of ongoing rules promulgated under the INA and other implementing actions, none

12   of which received NEPA compliance. Because these actions cumulatively carry out
13
     DHS’s statutory mandate to regulate the entry into and settlement of foreign
14

15   nationals in the United States, NEPA review should have been initiated long ago.
16
     DHS has repeatedly failed to initiate NEPA compliance at any point during its
17

18   administration of these ongoing programs, including promulgation of specific
19
     regulations or adoption of final action through policy memoranda pursuant to its
20
     authority to accept foreign nationals into the country under the INA.
21

22   61. Ms. Vaughan’s starting point for her best estimate of the number of individuals
23
     in each program is the date that each program was created or overhauled by statute
24

25   or executive order. While the INA is the statute that governs all of the programs
26
     (except for DACA), and it was first passed prior to NEPA, there have been several
27

28
     large scale revisions of the INA by statute since its original passage that have either

                                               50
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1812 Page 51 of 83




 1
     created or substantially overhauled the programs at issue. These modifications are:
 2   the United States Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102 (1980)
 3
     (“Refugee Act”); the Immigration Act of 1990, Pub. L. No. 101-649, 104 Stat.
 4

 5   4978 (1990) (“IMMACT 90”); and the Illegal Immigration Reform and Immigrant
 6
     Responsibility Act of 1996, Pub. L. No. 104–208, 110 Stat. 3001 (1996)
 7

 8   (“IIRIRA”). IMMACT 90 created the employment based immigration program
 9
     and TPS, and overhauled the family based immigration program and the
10
     nonimmigrant visa program. IIRIRA overhauled parole. The Refugee Act
11

12   overhauled the refugee and asylum programs.
13
     62.   For the long term nonimmigrant visa program, which is the most complex
14

15   program, Ms. Vaughan focuses on the long term nonimmigrant visas regulated
16
     substantially by DHS (rather than other agencies), and includes in her totals those
17

18   foreign nationals who have entered under visas in the E, H, L, TN, O, P, T, and U
19
     categories. See discussion of the long term nonimmigrant visa program in Ex. 3 at
20
     112-117. Table 2, included below and also in Ex. 3 at 129, shows how many
21

22   foreign nationals have been admitted through each type of visa.
23

24

25

26

27

28

                                              51
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1813 Page 52 of 83




 1
     Table 2: Long Term Non Immigrant Visa Category Included
 2
      Included Visa Category                 Total Since Visa Created Through 2016
 3              E                                            963,259
 4              H                                        7,185,272*****

 5              L                                          2,829,315
 6
                TN                                       153,350*****
 7
                O                                           308,663
 8
                P                                           759,518
 9
                T                                         4,070*****
10              U                                        10,881*****
11   *****Figures come from the State Department and do not include additional issuances processed
12   by USCIS and CBP.

13
     63.    It is also notable that the population growth of many of these programs
14
     changes through the years. Ms. Vaughan has complied two graphs illustrating the
15

16   growth of these programs, Table 3 and Table 4, included below and in Ex. 3 at 130
17
     and 131.
18

19

20

21

22

23

24

25

26

27

28

                                                  52
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1814 Page 53 of 83




     Table 3: Trend in Individuals Added over Time for United States for all programs
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                53
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1815 Page 54 of 83




     Table 4: Trend in Individuals Added for Long Term Nonimmigrant Visas
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15
     64.   The population growth from all these programs has particularly impacted the
16

17   states and metropolitan areas where Plaintiffs reside. Ms. Vaughan has illustrated
18
     these impacts in Table 5, included below and in Ex. 3 at 132.
19

20

21

22

23

24

25

26

27

28

                                              54
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1816 Page 55 of 83




     Table 5: Number of Individuals Added by Geographic Region of Interest to Plaintiffs,
 1
     where available:
 2
      Long Term Permanent Residents By State for Selected Years
 3    (Temporary Visa Issuances)
 4    State                                                1997              2002       2015
      California                                       135,526           264,074    418,772
 5    Colorado                                          10,271            26,592     31,992
 6    Florida                                           67,440           175,821    198,641

 7    % of Total Issuances                                23%                26%        17%
 8

 9    Permanent Residents Admitted for Selected Metro Areas: 2003-2015
10    Metro Area                             Total
      Los Angeles/Long Beach/Anaheim, CA            1,197,465
11    San Diego/Carlsbad, CA                          241,915
12    Denver/Aurora/Lakewood, CO                      104,640
      Miami/Ft. Lauderdale/W. Palm Beach, FL          938,412
13    Combined % of National Total                        11%
14
      California                                     2,836,791
15    % of National Total                                  21%
16

17
     65.      In summary, these programs have resulted and continue to result in
18

19
     significant impacts through the population growth they induce in the United States.

20   DHS has never subjected these programs to NEPA review.
21
     66.     The CEQ provides that population growth-inducing effects/impacts must be
22

23   analyzed. 40 C.F.R. § 1508.8(b).
24
     67.     The programs are clearly growth-inducing because they produce “changes in
25

26   the pattern of land use, population density or growth rate, and related effects on air
27
     and water and other natural systems, including ecosystems.” 40 C.F.R. § 1508.8(b).
28

                                                    55
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1817 Page 56 of 83




 1
     These growth-inducing impacts are felt not just at a national but at a local level, for
 2   there are many areas of the country that have been particularly attractive to foreign
 3
     nationals settling in the United States. The population growth driven by settlement
 4

 5   of foreign nationals has been especially intense in California, Colorado, and
 6
     Florida, areas where Plaintiffs live.
 7

 8   68.   For some of DHS’ programs, population growth is not the only significant
 9
     environmental impact. While some of these programs only allow foreign nationals
10

11
     initially to enter the country legally (employment based immigration, family based

12   immigration, long-term nonimmigrant visas, refugees, and some forms of parole),
13
     others (TPS, asylum, DACA, and some forms of parole) allow foreign nationals
14

15   who have illegally entered or remained in the country to remain with federal
16
     approval. Programs such as these not only add more settled population at the time
17

18   they are implemented, but also have further environmental impacts by encouraging
19
     future unlawful entry.
20
     69.   Encouraging illegal entry into and settlement in the country has significant
21

22   environmental impacts both from further increased population growth and by
23
     creating incentives for large numbers of people to enter unlawfully at the border. In
24

25   recent decades, such large numbers of illegal aliens have crossed the southern
26
     border illegally that the physical environment at the border has been substantially
27

28
     degraded. Ms. Vaughan also explains how programs that reward illegal entry into

                                               56
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1818 Page 57 of 83




 1
     and settlement in the country lead to further mass unlawful entry, including Parole,
 2   TPS, Asylum, and DACA. See Ex. D: How Certain DHS Programs Affect Land on
 3
     the Southwest Border, of Ex. 3 at 176-180. This mass entry causes physical
 4

 5   environmental impacts to the land on the border, as documented by affidavits by
 6
     Fred Davis, Peggy Davis, Caren Cowan, John Ladd, and Ralph Pope. (Ex. 6, Ex. 7,
 7

 8   Ex. 15, Ex. 16, and Ex. 18).
 9
     DHS’s Categorical Exclusions
10

11
     70.   Prior to 2014, not only did DHS engage in no NEPA review of its programs
12

13   regulating the entry into and settlement of foreign nationals in the United States, it
14
     also generally failed even to acknowledge the applicability of NEPA to these
15
     programs. Following its 2014 adoption of NEPA procedures, DHS began
16

17   occasionally to cite NEPA when it promulgated regulations relating to the entry
18
     into and settlement of foreign nationals in the United States. Plaintiffs have
19

20   documented the promulgation of only four rule revisions that acknowledge NEPA.
21
     Each of these citations to NEPA is arbitrary and capricious as applied:
22

23
     71.   On April 29, 2015, DHS promulgated Adjustments to Limitations on

24   Designated School Official Assignments and Study by F-2 and M-2
25
     Nonimmigrants, 80 Fed. Reg. 23680 (Apr. 29, 2015), amending 8 C.F.R. §§ 214.2
26

27   and 214.3, which regulate the Student and Exchange Visitor Program (“SEVP”).
28
     The rule revision makes it easier for schools to participate in the SEVP and permits
                                              57
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1819 Page 58 of 83




 1
     certain dependents of aliens to enroll in less than a full course of study at SEVP
 2   certified schools. Adjustments to Limitations on Designated School Official
 3
     Assignments and Study by F-2 and M-2 Nonimmigrants, 80 Fed. Reg. 23680. DHS
 4

 5   categorically excluded 80 Fed. Reg. 23680 from NEPA analysis under DHS
 6
     Categorical Exclusion A3(d) as a “rule[] . . . that interpret[s] or amend[s] an
 7

 8   existing regulation without changing its environmental effect.”
 9
      72.   On March 11, 2016, DHS promulgated Improving and Expanding Training
10

11
     Opportunities for F-1 Nonimmigrant Students with STEM Degrees and Cap-Gap

12   Relief for All Eligible F-1 Students, 81 Fed. Reg. 13039 (Mar. 11, 2016),
13
     amending 8 C.F.R. Parts 214 and 274a, to implement another revision to the
14

15   nonimmigrant visa program. Substantively, this regulation also expanded the
16
     Student and Exchange Visitor program, by extending the length of time foreign
17

18   students with STEM (science, technology, engineering and math) degrees can
19
     remain in the in the United States after graduation and work. DHS received over
20
     900 public comments on this rule. Improving and Expanding Training
21

22   Opportunities for F-1 Nonimmigrant Students with STEM Degrees and Cap-Gap
23
     Relief for All Eligible F-1 Students, 81 Fed. Reg. at 13046. DHS categorically
24

25   excluded 81 Fed. Reg. 13039 from NEPA analysis under both Categorical
26
     Exclusion A3(a), as a “rule[] . . . of a strictly administrative or procedural nature;”
27

28

                                               58
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1820 Page 59 of 83




 1
     and A3(d), as a “rule[] . . .that interpret[s] or amend[s] an existing regulation
 2   without changing its environmental effect.”
 3
      73.   On November 18, 2016, DHS promulgated Retention of EB-1, EB-2, and
 4

 5   EB-3 Immigrant Workers and Program Improvements Affecting High-Skilled
 6
     Nonimmigrant Workers, 81 Fed. Reg. 82398 (Jan. 17, 2017), a Final Rule
 7

 8   amending “its regulations related to certain employment-based immigrant and
 9
     nonimmigrant visa programs.” Retention of EB-1, EB-2, and EB-3 Immigrant
10

11
     Workers and Program Improvements Affecting High-Skilled Nonimmigrant

12   Workers, 81 Fed. Reg. 82398. According to DHS: “[t]he final rule is intended to
13
     benefit U.S. employers and foreign workers participating in these programs by
14

15   streamlining the processes for employer sponsorship of nonimmigrant workers for
16
     lawful permanent resident (LPR) status, increasing job portability and otherwise
17

18   providing stability and flexibility for such workers…” Retention of EB-1, EB-2,
19
     and EB-3 Immigrant Workers and Program Improvements Affecting High-Skilled
20
     Nonimmigrant Workers, 81 Fed. Reg. at 82399. The rule further provides: “DHS
21

22   estimates for the final rule that a maximum total of 361,766 individuals may be
23
     eligible to apply for employment authorization based on compelling circumstances
24

25   in the first year of implementation of this rule and a maximum annual estimate of
26
     64,561 individuals in the second and subsequent years.” Retention of EB-1, EB-2,
27

28
     and EB-3 Immigrant Workers and Program Improvements Affecting High-Skilled

                                               59
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1821 Page 60 of 83




 1
     Nonimmigrant Workers, 81 Fed. Reg. at 82473. DHS received 27,979 comments
 2   on this rule. Retention of EB-1, EB-2, and EB-3 Immigrant Workers and Program
 3
     Improvements Affecting High-Skilled Nonimmigrant Workers, 81 Fed. Reg. at
 4

 5   82412. Nonetheless, DHS categorically excluded it from NEPA analysis under
 6
     DHS Categorical Exclusion A3(d). Circularly, the Final Rule stated: “DHS has
 7

 8   determined that this rule does not individually or cumulatively have a significant
 9
     effect on the human environment because it fits within the Categorical Exclusion
10
     found in MD 023–01 Rev. 01, Appendix A, Table 1, number A3(d).” Retention of
11

12   EB-1, EB-2, and EB-3 Immigrant Workers and Program Improvements Affecting
13
     High-Skilled Nonimmigrant Workers, 81 Fed. Reg. at 82475.
14

15   74.   On January 17, 2017, DHS promulgated International Entrepreneur Rule, 82
16
     Fed. Reg. 5238 (Jan. 17, 2017) to implement an addition to the parole program.
17

18   Substantively, this rule created a new parole subprogram for “international
19
     entrepreneurs” to remain in the United States. DHS received 763 public comments
20
     regarding the rule. International Entrepreneur Rule, 82 Fed. Reg. at 5244. DHS
21

22   categorically excluded 82 Fed. Reg. 5238 from NEPA analysis under DHS
23
     Categorical Exclusions A3(a) and A3(d). Interestingly, this Final Rule provides:
24

25         Environmental Policy Act (NEPA)
           Comment: An advocacy organization stated that all rules, including
26
           immigration rules, are subject to review under the National
27         Environmental Policy Act. The commenter suggested that, at
28
           minimum, an Environmental Assessment be conducted to account for

                                              60
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1822 Page 61 of 83




 1
           the growth-inducing impacts that would occur with an influx in
           population under this rule.
 2         Response: DHS agrees that NEPA applies to this, as to every, final
 3         rulemaking. As explained in section IV.E of this preamble, the rule
           has been reviewed for environmental effects and found to be within
 4
           two categorical exclusions from further review because experience
 5         has shown rules of this nature have no significant impacts on the
 6
           environment. DHS also notes that any entrepreneurial ventures
           undertaken will be governed by local, state and federal laws and
 7         regulations, including those protecting human health and the
 8         environment. We disagree with the commenter’s assertion that an
           Environmental Assessment is required.
 9

10   International Entrepreneur Rule, 82 Fed. Reg. at 5270.
11

12
     Programmatic Environmental Assessment for Actions to Address an

13
     Increased Influx of Unaccompanied Alien Children and Family Units Across

14
     the Southwest Border of the United States.

15
     75.   DHS did conduct a NEPA review in one instance related to the entry into
16

17   and settlement of foreign nationals in the United States. On June 2, 2014, President
18
     Obama issued a Presidential Memorandum entitled “Response to the Influx of
19

20   Unaccompanied Alien Children across the Southwest Border,” in which he directed
21
     the Secretary of Homeland Security to establish an interagency working group to
22

23
     address the “humanitarian aspects” of a large influx of foreign nationals. See Ex.

24   19, attached hereto, at 569 (“Southwest Border Memo”). The Southwest Border
25
     Memo’s goal was to assure a unified response by the federal government to
26

27   provide “housing, care, medical treatment, and transportation” to the
28
     unaccompanied alien children crossing the Southwest border. Id.
                                            61
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1823 Page 62 of 83




 1
     76.   DHS determined that the Southwest Border Memo and the actions DHS took
 2   in response to it constitute a federal action subject to NEPA. Accordingly, DHS
 3
     prepared a “Programmatic Environmental Assessment for Actions to Address an
 4

 5   Increased Influx of Unaccompanied Alien Children and Family Units Across the
 6
     Southwest Border of the United States” (“PEA”), attached hereto as Ex. 20,
 7

 8   together with a FONSI that was issued on August 12, 2014, attached hereto as Ex.
 9
     21.
10

11   77.   The PEA provides, in relevant part:
12

13         In addition to the influx of unaccompanied alien children, there is also
14         an increase in the number of family units entering the Unites [sic]
15         States. [DHS] is responsible for the apprehension, processing,
16         detention, and removal of such persons crossing the southwest border
17         into the United States without authorization. The unprecedented
18         increase in the number of apprehended persons has the potential to fill
19         or exceed the capacity of the DHS supporting infrastructure (real
20         property for processing and housing apprehended persons, services
21         including medical care, transportation, utilities, meals, hygiene,
22         recreation, etc.) currently available. Therefore, action is being
23         considered at the DHS level to provide increased and expedited
24         allocation of Departmental resources in the following three areas:
25

26               1) Provide adequate facilities for Customs and Border
27               Protection (CBP) to safely house unaccompanied alien
28               children (normally for no more than 72 hours) and family units
                                              62
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1824 Page 63 of 83




 1                until they can be transferred to the department of Health and
 2                Human Services (HHS) and Immigrations [sic] and Customs
 3                Enforcement (ICE) respectively, and provide adequate
 4                facilities for ICE to safely house family units;
 5                2) Provide transportation (land, air, water) between intake,
 6                processing, and housing facilities, as well as between these
 7                facilities and physicians and dentists [sic] offices, hospitals,
 8                consular offices, and airports or other transportations hubs, and
 9                3) Provide medical care, including care to treat, prevent, and
10                minimize the spread of communicable illnesses.
11

12   Ex. 20 at 571.
13
     78.   The PEA states that DHS’s needs for increased support infrastructure (for
14

15   example, housing and associated services, transportation, and medical care) while
16
     the foreign nationals are in DHS’s custody will result in only “minor” and
17
     “temporary” environmental impacts. See Ex. 21 at 607. DHS’s NEPA review only
18

19   addresses the direct physical impacts resulting from DHS’s temporary custody of
20
     foreign nationals. The PEA and FONSI fail to recognize that the foreign nationals
21

22   comprising the “increased influx of unaccompanied alien children and family
23
     units” subject to the June 2, 2104, action entered the United States with the intent
24

25
     to settle in this nation. Many have indeed settled in the United States. Like the

26   programs set forth supra, the PEA and the FONSI issued for this action fail to
27
     address the environmental impacts on the Southwest border resulting from the
28

                                               63
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1825 Page 64 of 83




 1
     crossing of these foreign nationals, or the population growth resulting from their
 2   presence. The PEA and the FONSI thus illustrate DHS’s institutional blindness to
 3
     the environmental impacts of people arriving and settling in the United States.
 4

 5   Moreover, DHS performed no NEPA review of indirect or cumulative impacts, nor
 6
     of connected and similar actions, in either the PEA or the FONSI.
 7

 8   Environmental Impacts Resulting from These Programs
 9
     79.   Upon information and belief, approximately 35 million foreign nationals
10

11
     have entered the United States and settled, and millions of foreign nationals will

12   continue to enter and settle, pursuant to these eight programs. In some cases,
13
     DHS’s very failure to provide public transparency and analysis regarding the
14

15   numbers of foreign nationals subject to and benefiting from these or other such
16
     programs has disadvantaged Plaintiffs in their quest to establish the true magnitude
17

18   of environmental impacts resulting from them. DHS’s compliance with NEPA
19
     would remedy this lack of transparency.
20

21
     80.   These programs have a significant effect on the size and growth of the

22   United States’s population, as well as the particular distribution of that population
23
     growth. Population growth itself is a significant environmental impact, as
24

25   particularly noted by Congress in NEPA, and also as set forth in Dr. Cafaro’s
26
     report, “The Environmental Impact of Immigration into the United States.” See Ex.
27

28   5. As noted by Dr. Cafaro, population growth is a key factor in a wide variety of

                                               64
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1826 Page 65 of 83




 1
     environmental impacts. For example, immigration-driven population growth leads
 2   to urban sprawl and farmland loss, habitat and biodiversity loss, an increase in
 3
     worldwide levels of greenhouse gas emissions, and an increase of water demands
 4

 5   and water withdrawals from natural systems. See Ex. 5 at 196.
 6
     81.   Surveying the “purposes and needs” sections of several recent federal and
 7

 8   state agency EISs, Dr. Cafaro explains how new, environmentally harmful projects
 9
     are continually created around the country to accommodate immigration-driven
10

11
     population growth. See Ex. 5 at 211. These recent EISs cite anticipated or planned

12   population growth as creating the need for a myriad of environmentally harmful
13
     new infrastructure, for example, transit projects, such as the creation of light rail
14

15   systems, new airports, and projects for road-widening and road construction;
16
     energy projects, such as coal and natural gas development, new power plants, and
17

18   pipelines; and water supply projects, such as new dams and reservoirs. See Ex. 5 at
19
     211-216. There are many other kinds of developments, such as new schools and
20
     housing projects, that are only needed because of population growth. See Ex. 5 at
21

22   217-218.
23
     82.   Population growth is responsible for one of the leading environmental
24

25   problems across the United States: urban sprawl, that is, new development on the
26
     fringes of existing urban and suburban areas. See Ex. 5 at 219. Sprawl increases
27

28
     overall energy and water consumption and air and water pollution, and decreases

                                               65
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1827 Page 66 of 83




 1
     open space and natural wildlife habitat, endangering the survival of many species.
 2   Id. From 1982 to 2010, a period of massive immigration, 41.4 million acres of
 3
     previously undeveloped urban land was built on to accommodate the United
 4

 5   States’s growing cities and towns—an area approximately equivalent to the State
 6
     of Florida. Id.
 7

 8   83.   The future loss of the undeveloped land remaining in the United States, due
 9
     to unrelenting population growth, will produce significant environmental
10

11
     consequences. The ongoing loss of open spaces, habitats, and wilderness to

12   unrelenting population growth is a source of anguish to those who love the
13
     wilderness, including many of the instant Plaintiffs. Former President Barack
14

15   Obama acknowledged this great environmental loss in his speech marking the
16
     designation and preservation from development of the Papahānaumokuākea Marine
17

18   National Monument in Hawaii. President Obama stated, “I look forward to
19
     knowing that 20 years from now, 40 years from now, 100 years from now, this is a
20
     place where people can still come to and see what a place like this looks like when
21

22   it’s not overcrowded or destroyed by human populations.” White House Press
23
     Release, Remarks by the President at the Designation of the Papahānaumokuākea
24

25   Marine National Monument (September 1, 2016), available at
26
     https://obamawhitehouse.archives.gov/the-press-office/2016/09/01/remarks-
27

28
     president-designation-papahanaumokuakea-marine-national-monument.

                                             66
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1828 Page 67 of 83




 1
     84.   Population growth also threatens to accelerate biodiversity loss and the
 2   extinction of animal and plant species. See Ex. 5 at 236. The United Nations’
 3
     Secretariat of the Convention on Biological Diversity estimates that humanity may
 4

 5   be causing the extinction of one out of every three species on Earth in the next one
 6
     to two hundred years. Id. Conservation biologists agree that the most important
 7

 8   “direct drivers” of biodiversity loss are: habitat loss, the impacts of alien species,
 9
     over-exploitation, pollution, and global climate change. Id. at 236-237. All five are
10
     caused by increased human population and the increased human activities
11

12   associated with human population growth. Id.
13
     85.   The carbon dioxide (“CO2”) emissions produced in the United States also
14

15   are increasing because of immigration-driven population growth. Furthermore,
16
     those foreign nationals that settle in the United States produce an estimated four
17

18   times more CO2 in the United States than they would have in their countries of
19
     origin. The estimated 637 tons of CO2 produced annually by U.S. immigrants is
20
     482 million tons more than they would have produced had they remained in their
21

22   home countries.8 The impact of immigration to the United States on global
23

24

25
     8
       Reducing CO2 has often been a focal point of presidential environmental
     initiatives even as the impacts of immigration on global carbon emissions were
26
     never calculated. See, e.g., Memorandum from Christina Goldfuss, Final Guidance
27   for Federal Departments and Agencies on Consideration of Greenhouse Gas
28
     Emissions and the Effects of Climate Change in theNational Environmental Policy
     Act (Aug. 1, 2016), available at
                                              67
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1829 Page 68 of 83




 1
     emissions is equal to approximately 5 percent of the increase in annual world-wide
 2   CO2 emissions since 1980. That is 5 percent of total global CO2 emissions, not 5
 3
     percent of U.S. emissions. These numbers do not even include the CO2 impacts of
 4

 5   children born to United States immigrants. See Ex. 5. at 261.
 6
     86.   Because a greater population uses more water, population growth also results
 7

 8   in a higher aggregate water use, putting increased pressure on water systems,
 9
     including rivers and underground aquifers. Water taken for human consumption is
10

11
     necessarily removed from an ecosystem, leading to a host of environmental

12   impacts. Id. at 270-280. “When too much water is taken from these ecosystems for
13
     consumptive use by human beings, there may not be enough water left behind to
14

15   perform these critical ecosystem services and functions.” Id. at 273.
16
     87.   The environmental impacts resulting from population-based demands for
17

18   water are most vividly illustrated in the state of California. Id. at 281-288. The
19
     nation’s most populous state also tops the nation in terms of water withdrawal.
20
     California has also been experiencing a severe, multi-year drought. Governor Jerry
21

22   Brown declared statewide mandatory water restrictions for the first time in
23
     California’s history, ordering towns and cities to reduce their water use by 25
24

25   percent. Id. at 286. This drought has led the state to overdraft its underground
26

27
     https://obamawhitehouse.archives.gov/sites/whitehouse.gov/files/documents/nepa_
28
     final_ghg_guidance.pdf.
                                               68
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1830 Page 69 of 83




 1
     aquifers, with potentially devastating environmental consequences. Id. at 285-86.
 2   Water quality is also an issue. Numerous human activities can cause water
 3
     pollution. For instance, the introduction of excess nitrogen and phosphorus
 4

 5   fertilizers into streams, rivers, and lakes encourage explosive growth of “algal
 6
     blooms,” ultimately leading to eutrophication and the destruction of these
 7

 8   ecosystems and the species that inhabit them. Id. at 274.
 9
     88.   DHS’s administration of the eight programs increases the United States’s
10

11
     population and thereby causes significant environmental impacts, as detailed by Dr.

12   Cafaro. Yet DHS has never acknowledged these impacts despite its recognition that
13
     NEPA applies to its programs and actions.
14

15   89.   DHS has also never acknowledged the significant environmental impacts in
16
     the area of the Southwest border caused by illegal entry of mass numbers of
17

18   foreigners. Parole, TPS, asylum, and DACA are all programs which have the effect
19
     of encouraging further illegal entry across the Southwest border. As expert Jessica
20
     Vaughan describes in her report on the Southwest border: “[h]istorical experience
21

22   demonstrates that a real or even perceived change in enforcement policies, both at
23
     the border and in the interior, can significantly affect the number of people
24

25   attempting to cross the border illegally.” Ex. 3 at 177. Indeed, a Border Patrol
26
     intelligence report from 2014 based on interviews with migrants reveals that 95%
27

28
     stated that their “main reason” for coming was because they had heard they would

                                              69
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1831 Page 70 of 83




 1
     receive a “permiso,” or permission to stay. Id. at 178. The environmental effect of
 2   this illegal entry is not limited to population growth; the illegal entry has also
 3
     caused environmental degradation along the Southwest border.
 4

 5   90.   The massive numbers of people illegally crossing the southwest border have
 6
     left a host of environmental impacts in their wake, such as the destruction of native
 7

 8   and at-risks species and habitats from the trampling of the native vegetation;
 9
     garbage dumping on a massive scale; water pollution; and the setting of fires, many
10

11
     of which turn out of control, for the purposes of heat, cooking, or to distract Border

12   Patrol agents. These and other environmental degradations are detailed in the
13
     affidavits of Fred Davis, Peggy Davis, Caren Cowen, John Ladd, and Ralph Pope.
14

15   See Ex. 6, Ex. 7, Ex. 15, Ex. 16, and Ex. 18. The scale, location, and form of such
16
     environmental impacts necessarily depend on a number of factors, including, but
17

18   not limited to, the number of individuals illegally crossing, where they choose to
19
     cross, and, to some degree, what their goals are in crossing (for example, drug-
20
     running versus finding work in the interior). Though DHS policies are not the sole
21

22   factor in all of these components of the illegal border-crossing phenomenon, there
23
     is no doubt they are a factor.
24

25   91.   DHS’s lack of response to these environmental effects on the southwest
26
     border is another example of how DHS simply ignores the impacts that foreign
27

28
     nationals themselves have on the human environment when they enter the country.

                                                70
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1832 Page 71 of 83




 1
                                     CAUSES OF ACTION
 2
                                            COUNT I
 3
           The DHS Instruction Manual Violates the APA and NEPA by Failing to
 4
      Require NEPA Compliance with Respect to its Actions Relating to the Entry
 5
               Into and Settlement of Foreign Nationals in the United States.
 6

 7

 8
     92.     Plaintiffs reallege paragraphs 1-91 as if fully set forth herein.

 9
     93.     CEQ regulations require each federal agency to adopt internal NEPA
10
     procedures to ensure NEPA compliance. 40 C.F.R. § 1507.3. Agency NEPA
11

12   procedures shall comply with CEQ regulations. 40 C.F.R. § 1507.1 (2017).
13
     94.     CEQ regulation 40 C.F.R. § 1507.3(b)(2) requires DHS to set forth “specific
14

15   criteria for and identification of those typical classes of action[]” which normally
16
     require (i) the preparation of an environmental impact statement, (ii) the finding
17

18   that they are subject to categorical exclusion, or (iii) the preparation of an
19
     environmental assessment.
20

21   95.     DHS promulgated its Instruction Manual on November 6, 2014. (Ex. 2)
22
     96.     The Instruction Manual qualifies as a “rule” under the APA because it is
23

24   “the whole or a part of an agency statement of general or particular applicability
25
     and future effect designed to implement, interpret, or prescribe law or policy or
26

27
     describing the organization, procedure, or practice requirements of an agency.” 5
28
     U.S.C. § 551(4) (2012).
                                                 71
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1833 Page 72 of 83




 1
     97.   Rules qualify as federal actions under NEPA. 40 C.F.R. §1508.18(a)
 2   provides that federal actions include “new or revised agency rules, regulations,
 3
     plans, policies, or procedures; and legislative proposals[.]”
 4

 5   98.   The regulation of the entry into and settlement of foreign nationals in the
 6
     United States is a major component of DHS’s statutory mission, and such
 7

 8   regulation comprises “principal programs” pursuant to 40 C.F.R. § 1505.1(b) and
 9
     “typical classes of action” pursuant to 40 C.F.R. § 1507.3(b)(2).
10

11   99.   The entry into and settlement of foreign nationals in the United States has
12
     myriad impacts on the “human environment” subject to NEPA analysis, including,
13

14
     but not limited to, population growth and the attendant impacts such growth

15   produces. 42 U.S.C. § 4332(2)(C) (2012); 40 C.F.R. §1508.14; see also 40 C.F.R.
16
     § 1508.8 (specifying that “growth inducing effects [and] . . . population density or
17

18   growth rate . . . .” are impacts subject to NEPA analysis).
19
     100. The Instruction Manual omits any mention of that vast class of DHS
20

21   programs/actions that concerns the entry into and settlement of foreign nationals in
22
     the United States.
23

24   101. DHS’s failure to address these “typical classes of actions” and/or “principal
25
     programs” in its Instruction Manual violates the CEQ NEPA regulations 40 C.F.R
26

27
     §§ 1500-1508.
28

                                               72
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1834 Page 73 of 83




 1
     102. The failure of DHS to incorporate NEPA compliance into its Instruction
 2   Manual for those actions relating to the entry into and settlement of foreign
 3
     nationals in the United States violates the CEQ regulations, and accordingly is
 4

 5   arbitrary, capricious, an abuse of discretion, and otherwise contrary to law, in
 6
     violation of the APA.
 7

 8                                        COUNT II
 9

10
        DHS is Violating the APA and NEPA by Failing to Engage in Any NEPA
11      Review with Respect to its Eight Programs Regulating the Entry Into and
                Settlement of Foreign Nationals in the United States.
12

13
     103. Plaintiffs reallege ¶¶ 1-91 as if fully set forth herein.
14

15   104. CEQ regulation 40 C.F.R. § 1508.18(b)(3) provides that federal actions
16
     subject to NEPA include: “Adoption of programs, such as a group of concerted
17

18
     actions to implement a specific policy or plan; systematic and connected agency

19   decisions allocating agency resources to implement a specific statutory program or
20
     executive directive.”
21

22

23   105. DHS has eight programs covering, respectively: 1) employment based
24
     immigration; 2) family based immigration; 3) long-term nonimmigrant visas; 4)
25

26
     parole; 5) TPS; 6) refugees; 7) asylum; and 8) DACA. They are set forth in ¶ 55.

27   Each of these eight programs comprises “a group of concerted actions to
28

                                               73
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1835 Page 74 of 83




 1
     implement a specific policy or plan” and “implement[s] a specific statutory
 2   program or executive directive” pursuant to 40 C.F.R. § 1508.18(b)(3), and thus
 3
     qualifies as a federal action subject to NEPA.
 4

 5   106. DHS never initiated NEPA compliance with respect to these eight programs.
 6
     107. DHS’s decision to proceed without initiating any NEPA compliance for
 7

 8   these eight programs or any component of these eight programs violates NEPA
 9
     and the CEQ regulations, and accordingly is arbitrary, capricious, an abuse of
10
     discretion, and otherwise contrary to law, in violation of the APA.
11

12
                                           Count III
13

14             The Categorical Exclusion A3 Established by DHS on November 6,
15
                                        2014, Violates the APA.
16

17   108. Plaintiffs reallege ¶¶ 1-91 as if fully set forth herein.
18
     109. CEQ regulation 40 C.F.R. § 1507.3(b)(2) provides that agency NEPA
19

20   procedures shall provide “[s]pecific criteria for and identification of those typical
21
     classes of action” that qualify for application of a categorical exclusion.
22

23
     110. DHS promulgated Categorical Exclusion A3 as part of its NEPA

24   compliance. Categorical Exclusion A3 provides:
25
            Promulgation of rules, issuance of rulings or interpretations, and the
26
           development and publication of policies, orders, directives, notices,
27         procedures, manuals, advisory circulars, and other guidance
28
           documents of the following nature:

                                               74
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1836 Page 75 of 83




 1
             (a) Those of a strictly administrative or procedural nature;
             (b) Those that implement, without substantive change, statutory or
 2
            regulatory requirements;
 3           (c) Those that implement, without substantive change, procedures,
 4
            manuals, and other guidance documents;(d) Those that interpret or
            amend an existing regulation without changing its environmental
 5          effect[.]
 6

 7   Ex. 2 at 65.
 8

 9   111. DHS fails to define “rules, or interpretations, . . . policies, orders, directives,
10
     notices, procedures, manuals . . . of a strictly administrative or procedural
11

12   nature[.]” Id. These undefined terms are so broad that they potentially encompass
13
     much of the entire DHS mission. Many, if not most, DHS rules, policies, orders,
14
     manuals, and so on, are arguably “strictly administrative or procedural” in the
15

16   broadest sense but do in fact, have an impact on the “human environment”; such
17
     actions include, at a minimum, those actions DHS chose to subject to Categorical
18

19   Exclusion A3 that are now at issue in this Complaint. Impermissibly, Categorical
20
     Exclusion A3 gives absolute discretion to DHS to determine what constitutes
21

22
     “rules, or interpretations, . . . policies, orders, directives, notices, procedures,

23   manuals…of a strictly administrative or procedural nature[.]”
24
     112. Indeed, some DHS activities that may qualify as “rules, or
25

26   interpretations, . . . policies, orders, directives, notices, procedures, manuals . . . of
27
     a strictly administrative or procedural nature . . .” do result in environmental
28

                                                 75
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1837 Page 76 of 83




 1
     impacts because they regulate the entry into and settlement of foreign nationals in
 2   the United States. Such regulatory actions unquestionably cause population growth,
 3
     and thus are subject to NEPA analysis. CEQ regulation 40 C.F.R. §1508.8(b)
 4

 5   provides that population growth is an “effect” subject to NEPA analysis. It is thus
 6
     arbitrary and capricious to exclude these types of regulatory actions categorically
 7

 8   from NEPA analysis.
 9
     113. DHS Categorical Exclusion A3 is facially arbitrary, capricious, and
10

11
     overbroad under the APA because the criteria it lists for application are not

12   “specific,” in violation of CEQ regulation 40 C.F.R. § 1507.3(b)(2). Categorical
13
     Exclusion A3 does not give fair warning of what is covered by the Categorical
14

15   Exclusion and is thus fatally overbroad. Contrary to 40 C.F.R. § 1508.4, A3 it does
16
     not adequately identify the categories of actions to be covered by the Categorical
17

18   Exclusion.
19
     114. In sum, DHS’s promulgation of Categorical Exclusion A3 violates NEPA,
20
     and is arbitrary, capricious, an abuse of discretion, and otherwise contrary to law,
21

22   in violation of the APA.
23
                                          COUNT IV
24

25            The Categorical Exclusion A3 is Arbitrary and Capricious as Applied
26            to Four Actions Regulating the Entry Into and Settlement of Foreign
                                Nationals in the United States.
27

28
     115. Plaintiffs reallege ¶¶ 1-91 as if fully set forth herein.
                                               76
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1838 Page 77 of 83




 1
     116. The use of Categorical Exclusion A3 is unlawful as applied to the federal
 2   actions set forth in ¶¶ 71-74, and contrary to NEPA and the APA:
 3
           I.     Adjustments to Limitations on Designated School Official
 4

 5   Assignments and Study by F-2 and M-2 Nonimmigrants, 80 Fed. Reg. 23680 (Apr.
 6
     29, 2015), amending 8 C.F.R. §§ 214.2 and 214.3, which regulates the Student and
 7

 8   Exchange Visitor Program (at ¶ 71);
 9
           II.    Improving and Expanding Training Opportunities for F-1
10

11
     Nonimmigrant Students with STEM Degrees and Cap-Gap Relief for All Eligible

12   F-1 Students, 81 Fed. Reg. 13039 (Mar. 11, 2016), amending 8 CFR Parts 214 and
13
     274a, to implement a revision to the nonimmigrant visa program (at ¶ 72);
14

15         III.   Retention of EB-1, EB-2, and EB-3 Immigrant Workers and Program
16
     Improvements Affecting High-Skilled Nonimmigrant Workers, 81 Fed. Reg. 82398
17

18   (Jan. 17, 2017), a Final Rule amending “its regulations related to certain
19
     employment-based immigrant and nonimmigrant visa programs” (at ¶ 73);
20

21
           IV.    International Entrepreneur Rule, 82 Fed. Reg. 5238 (Jan. 17, 2017) to

22   implement an addition to the parole program for “international entrepreneurs” to
23
     remain in the United States (at ¶ 74).
24

25   117. A categorical exclusion shall only be utilized for “a category of actions
26
     which do not individually or cumulatively have a significant effect on the human
27

28   environment . . . .” 40 C.F.R. § 1508.4. “Significantly” is defined by 40 C.F.R. §

                                              77
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1839 Page 78 of 83




 1
     1508.27(4) to include effects which are “highly controversial.” The four actions
 2   regulating the entry into and settlement of foreign nationals in the United States for
 3
     which Categorical Exclusion A(3) was utilized qualify as “significant” due to the
 4

 5   high number of public comments received by DHS. The controversy surrounding
 6
     these actions alone should have disqualified them from Categorical Exclusion.
 7

 8   118.   Additionally, the four actions to which Categorical Exclusion A3 was
 9
     utilized regulate the entry into and settlement of foreign nationals in the United
10

11
     States. These actions result in population growth. NEPA implements congressional

12   concern for “the profound influences of population growth” on “the natural
13
     environment[.]” 42 U.S.C. § 4331(a). Implementing CEQ regulation 40 C.F.R.
14

15   §1508.8(b) expressly establishes that “growth inducing effects and other effects
16
     related to induced changes in the pattern of land use, population density or growth
17

18   rate . . .” are “effects” subject to NEPA analysis. The application of Categorical
19
     Exclusion A3 to these four actions regulating entry into and settlement of foreign
20
     nationals in the United States is thus inconsistent with NEPA and its implementing
21

22   CEQ regulations and is accordingly arbitrary and capricious under the APA.
23
     115. Because each of these actions has individual and or cumulatively significant
24

25   effects, the use of the Categorical Exclusion A3 is contrary to 40 C.F.R. §§ 1501.4,
26
     1508.4, and 1508.27. DHS’s application of the Categorical Exclusion A3 is thus
27

28

                                               78
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1840 Page 79 of 83




 1
     arbitrary, capricious, an abuse of discretion, and otherwise contrary to law, in
 2   violation of the APA.
 3
      119. Furthermore, DHS’s lack of support in the administrative record for the
 4

 5   application of the Categorical Exclusion to these four actions also renders that
 6
     application arbitrary and capricious under the APA.
 7

 8   120. DHS’s improper application of the Categorical Exclusion to these four
 9
     actions is contrary to NEPA and is accordingly arbitrary, capricious, an abuse of
10

11
     discretion, and otherwise contrary to law, in violation of the APA.

12
                                          COUNT V
13

14    Failure to Take a “Hard Look” at the Environmental Impacts of the June 2,
15
      2014, Action “Response to the Influx of Unaccompanied Alien Children” in
                           Violation of NEPA and the APA
16

17   121. Plaintiffs reallege paragraphs 1-91 as if fully set forth herein.
18
     122. NEPA requires federal agencies to take a “hard look” at the environmental
19

20   impacts of their proposed actions, and to prepare an EIS if the adverse
21
     environmental impacts of a proposed federal action are potentially significant. 42
22

23
     U.S.C. § 4332(c).

24
     123. In preparing the EA for the June 2, 2014, “Response to the Influx of
25

26
     Unaccompanied Alien Children [,]” DHS failed adequately to consider the direct,

27   indirect, and cumulative impacts of the action upon the human environment, in
28

                                               79
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1841 Page 80 of 83




 1
     violation of 40 C.F.R. § 1508.9. These impacts include, but are not limited to,
 2   those population and border impacts described in Plaintiffs’ affidavits (Ex. 6-18),
 3
     as well as described in the expert reports written by Steven Camarota, Ph.D. (Ex.
 4

 5   4), Phil Cafaro, Ph.D. (Ex. 5), and Jessica Vaughan (Ex. 2).
 6
     124. DHS’s reliance upon an inadequate and incomplete EA, without full
 7

 8   compliance with NEPA, constitutes a violation of Section 102(2)(C) of NEPA, 42
 9
     U.S.C. § 4332(2)(c), as well as the implementing CEQ regulations set forth at 40
10

11   C.F.R. § 1500 et seq., and is unreasonable, arbitrary, an abuse of discretion, and
12
     not in accordance with law under the APA.
13

14

15
                                   PRAYER FOR RELIEF

16
     WHEREFORE, in light of the foregoing, Plaintiffs respectfully request that this
17
     Court grant the following relief:
18

19   1)    Enter a declaratory judgment that the failure of DHS to incorporate NEPA
20
     compliance into its Instruction Manual regarding those of its actions relating to the
21

22   entry into and settlement of foreign nationals in the United States violates NEPA
23
     and the APA; and
24

25
     2)     Enter a declaratory judgment that DHS has violated NEPA and the APA

26   with respect to the eight programs set forth in ¶ XX for failing to initiate NEPA
27
     compliance; and
28

                                              80
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1842 Page 81 of 83




 1
     3)    Enter a declaratory judgment that the DHS’s Categorical Exclusion A3 is
 2   arbitrary and capricious on its face under the APA; and
 3
     4)     Enter a declaratory judgment that the DHS’s application of Categorical
 4

 5   Exclusion A3 is arbitrary and capricious under the APA as applied to 80 FR 23680,
 6
     81 FR 13039, 81 FR 82398, and 82 FR 5238; and
 7

 8   5)    Enter a declaratory judgment that the EA and the FONSI issued for the June
 9
     2, 2014, Action “Response to the Influx of Unaccompanied Alien Children”
10
     violates NEPA and the APA; and
11

12   6)    Enter an order requiring DHS to comply fully with NEPA with respect to
13
     those eight programs set forth set forth in this complaint; and
14

15   7)    Enter an order requiring DHS to pause the eight active programs regulating
16
     the entry into and settlement of foreign nationals in the United States pending
17

18
     NEPA compliance; and

19   8)    Set aside DHS’s application of Categorical Exclusion A3 to: Adjustments to
20
     Limitations on Designated School Official Assignments and Study by F-2 and M-2
21

22   Nonimmigrants, 80 Fed. Reg. 23680 (Apr. 29, 2015); Improving and Expanding
23
     Training Opportunities for F-1 Nonimmigrant Students with STEM Degrees and
24

25   Cap-Gap Relief for All Eligible F-1 Students, 81 Fed. Reg. 13039; Retention of
26
     EB-1, EB-2, and EB-3 Immigrant Workers and Program Improvements Affecting
27
     High-Skilled Nonimmigrant Workers, 81 Fed. Reg. 82398; and International
28

                                              81
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1843 Page 82 of 83




 1
     Entrepreneur Rule, 82 Fed. Reg. 5238, and remand to DHS for proper compliance
 2   with NEPA; and
 3
     9)    Set aside the EA and FONSI issued by DHS for the June 2, 2014, Action
 4

 5   “Response to the Influx of Unaccompanied Alien Children” and remand to DHS
 6
     for compliance with NEPA; and
 7

 8   10)   Award Plaintiff reasonable attorney fees, costs and expenses incurred in
 9
     pursuing this action to the extent permitted by law; and
10
     11)   Provide such other relief as this Court deems just and proper.
11

12

13

14
           Dated: December 8, 2017

15
           Respectfully submitted,
16

17          s/ Julie B. Axelrod
           Julie B. Axelrod
18
           California Bar No. 250165
19
           IMMIGRATION REFORM LAW INSTITUTE
20         25 Massachusetts Ave., N.W., Suite 335
21         Washington, D.C. 20001
22
           Telephone: (202) 232-5590
           Facsimile: (202) 464-3590
23
           Email: jaxelrod@irli.org
24

25
           Lesley Blackner
26         Admitted Pro Hac Vice
27         Florida Bar No. 654043
28
           340 Royal Poinciana Way, Suite 317-377

                                              82
     Case 3:16-cv-02583-L-BLM Document 44 Filed 12/08/17 PageID.1844 Page 83 of 83




 1
           Palm Beach, Florida 33480
           Telephone: (561) 659-5754
 2
           Email: lesleyblackner@gmail.com
 3
           James P. Miller
 4
           California Bar. No. 188266
 5         Law Office of JP Miller Jr.
 6         181 Rea Ave., Suite 101
           El Cajon, CA 92020
 7         Telephone: (619) 590-0383
 8         Email: jpmiller@jpmillerlaw.com
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             83
